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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF DELAWARE

-------------------------------------------------------   x
In re:                                                    :
                                                          :    Chapter 11
                                                          :
PHOENIX SERVICES TOPCO, LLC, et al.,                      :    Case No. 22-10906 (MFW)
                                                          :
                    Debtors.1                             :    (Jointly Administered)
                                                          :
-------------------------------------------------------   x

             SECOND AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION
              OF PHOENIX SERVICES TOPCO, LLC AND ITS DEBTOR AFFILIATES

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    Dated: June 20, 2023
           Wilmington, Delaware




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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
          identification number, are: Phoenix Services Topco, LLC (4517); Phoenix Services Parent, LLC (8023);
          Phoenix Services Holdings Corp. (1330); Phoenix Services International LLC (4693); Metal Services LLC
          (8793); Terracentric Materials LLC (0673); Cool Springs LLC (8687); Metal Services Investment LLC
          (2924); and Phoenix Receivables, LLC (not applicable). The Debtors’ mailing address is 4 Radnor Corporate
          Center, Suite 520, 100 Matsonford Road, Radnor, Pennsylvania 19087.




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                  Each of the Debtors propose the following amended joint chapter 11 plan of reorganization
pursuant to section 1121(a) of the Bankruptcy Code. Capitalized terms used herein shall have the meanings
set forth in Article I.A.

ARTICLE I.                DEFINITIONS AND INTERPRETATION.

        A.       Definitions. The following terms shall have the respective meanings specified below:

        1.1.    Acceptable Plan Agreement means that Acceptable Plan Agreement dated as of March 16,
2023, entered into by the Debtors and the Consenting Lenders, pursuant to which, among other things, the
Consenting Lenders agreed to credit bid the DIP Loans subject to the terms and conditions set forth therein.
A copy of the Acceptable Plan Agreement is attached to the Disclosure Statement as Exhibit E.

        1.2.    Acquisition Transaction means the acquisition transaction to be implemented pursuant to
Sections 2.4 and 5.1 of the Plan and the Transaction Steps, subject in all respects to the terms and conditions
of the Acceptable Plan Agreement and documentation acceptable to the Required Consenting Lenders and
the Debtors.

       1.3.   Ad Hoc Group means an ad hoc group of Consenting Lenders represented by Gibson, Dunn
& Crutcher LLP.

          1.4.    Administrative Expense Claim means a Claim, other than a DIP Claim or an Intercompany
Claim, for payment of an administrative expense of a kind specified under section 503(b) of the Bankruptcy
Code and entitled to priority or superpriority under sections 507(a)(2) or 507(b) of the Bankruptcy Code,
including (a) the actual and necessary costs and expenses incurred after the Petition Date and through the
Effective Date of preserving the Estates and operating the businesses of the Debtors; (b) Fee Claims; and
(c) all fees and charges assessed against the Estates pursuant to section 1930 of chapter 123 of title 28 of
the United States Code

          1.5.      Allowed means any Claim against a Debtor: (a) (i) that is filed, and as to which (A) no
objection to the allowance of such Claim has been asserted, or may be asserted, on or before the Claims
Objection Bar Date; (B) an objection to such Claim is asserted and such Claim is subsequently allowed
pursuant to a Final Order; (C) such Claim is settled pursuant to an order of the Bankruptcy Court; or (D)
such Claim is allowed pursuant to the Plan or any agreements related hereto and such allowance is approved
and authorized by the Bankruptcy Court; or (ii) as to which there exists no requirement for the holder of a
Claim to file such Claim under the Plan, the Bankruptcy Code, the Bankruptcy Rules or a Final Order; (b)
(i) that is listed in the Schedules as not contingent, not unliquidated, and not disputed, and (ii) for which no
contrary Proof of Claim has been timely filed; or (c) allowed under the Plan or by a Final Order.

        1.6.     Assets means all of the right, title, and interest in and to property of whatever type or nature
(including real, personal, mixed, intellectual, tangible, and intangible property).

       1.7.    Assumption Schedule means the schedule of executory contracts and unexpired leases to
be assumed by the Debtors pursuant to the Plan.

        1.8.     Backstop Parties means certain members of the Ad Hoc Group that have elected to
participate as backstop parties for the New Money Exit Debt.

         1.9.    Backstop Premium means the backstop premium provided to each of the Backstop Parties
equal to 20% on a fully diluted basis of the New Interests (subject to dilution by the Management Incentive
Plan), as described in the Acceptable Plan Agreement.
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         1.10. Bar Date means the dates by which Proofs of Claim must be filed with respect to Claims
against the Debtors, as ordered by the Bankruptcy Court pursuant to the Bar Date Order or other applicable
order, or pursuant to the Plan.

        1.11. Bar Date Order means the Order (I) Establishing a General Bar Date to File Proofs of
Claim, (II) Establishing a Bar Date to File Proofs of Claim by Governmental Units, (III) Establishing an
Amended Schedules Bar Date, (IV) Establishing a Rejection Damages Bar Date, (V) Approving the Form
and Manner for Filing Proofs of Claim, (VI) Approving the Form and Manner of Notice of Bar Dates, and
(VII) Granting Related Relief (Docket No. 193).

      1.12. Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. § 101, et seq., as
amended from time to time, as applicable to the Chapter 11 Cases.

        1.13. Bankruptcy Court means the United States Bankruptcy Court for the District of Delaware
having jurisdiction over the Chapter 11 Cases.

        1.14. Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code and any Local
Bankruptcy Rules of the Bankruptcy Court, in each case, as amended from time to time and applicable to
the Chapter 11 Cases.

          1.15.     Borrower means Newco.

       1.16. Business Day means any day other than a Saturday, a Sunday, or any other day on which
banking institutions in New York, New York are required or authorized to close by law or executive order.

        1.17. Business Plan means a five-year business plan detailing emergence from the chapter 11
cases that is in a form and substance satisfactory to the Required Consenting Lenders and that incorporates
the terms of the Final Relief.

          1.18.     Cash means legal tender of the United States of America.

         1.19. Cause of Action means any action, claim, cross-claim, third-party claim, cause of action,
controversy, demand, right, lien, indemnity, guaranty, suit, obligation, liability, loss, debt, damage,
judgment, account, defense, remedies, offset, power, privilege, license and franchise of any kind or
character whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter arising, contingent or
non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
undisputed, secured or unsecured, assertable directly or derivatively, whether arising before, on, or after
the Petition Date, in contract or in tort, in law or in equity or pursuant to any other theory of law (including
under any state or federal securities laws). Causes of Action also includes: (a) any right of setoff,
counterclaim or recoupment and any claim for breach of contract or for breach of duties imposed by law or
in equity; (b) the right to object to Claims or Interests; (c) any claim pursuant to section 362 or chapter 5 of
the Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress, and usury and any other
defenses set forth in section 558 of the Bankruptcy Code; and (e) any state law fraudulent transfer claim.

       1.20. Chapter 11 Cases means the jointly administered cases under chapter 11 of the Bankruptcy
Code commenced by the Debtors on the Petition Date in the Bankruptcy Court.

          1.21.     Claim has the meaning set forth in section 101(5) of the Bankruptcy Code, as against any
Debtor.


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        1.22. Claims Objection Bar Date means the later of (a) one-hundred and eighty (180) days after
the Effective Date, and (b) such later date as may be fixed by the Bankruptcy Court (as the same may be
extended by the Bankruptcy Court).

         1.23.      Class means any group of Claims or Interests classified as set forth in Article III of the
Plan.

       1.24. Confirmation Date means the date on which the Clerk of the Bankruptcy Court enters the
Confirmation Order.

       1.25. Confirmation Hearing means the hearing to be held by the Bankruptcy Court to consider
confirmation of the Plan, as such hearing may be adjourned, reconvened, or continued from time to time.

       1.26. Confirmation Order means the order of the Bankruptcy Court confirming the Plan
pursuant to section 1129 of the Bankruptcy Code.

       1.27. Consenting Lenders means each of the holders of, or investment advisors, sub-advisors,
or managers of holders of loans that are signatory to, or have executed joinders to, the Acceptable Plan
Agreement.

         1.28.      Consummation means the occurrence of the Effective Date.

        1.29. Creditors’ Committee means the statutory committee of unsecured creditors appointed by
the U.S. Trustee in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code on October 11,
2022, as reconstituted on October 18, 2022 (Docket Nos. 127 and 148), the members of which are: (i) Boyd
Company; (ii) Alta Construction Equipment Illinois, LLC; (iii) Tredroc Tire Services LLC; (iv) Cintas
Corporation; (v) Cleveland-Cliffs Steel LLC; and (vi) C&B Marine.

        1.30. Cure Amount means the payment of Cash by the Debtors, or the distribution of other
property (as the parties may agree or the Bankruptcy Court may order), as necessary to (a) cure a monetary
default by the Debtors in accordance with the terms of an executory contract or unexpired lease of the
Debtors and (b) permit the Debtors to assume such executory contract or unexpired lease pursuant to section
365 of the Bankruptcy Code.

       1.31.        Customer Schedule means a schedule of contracts that the Debtors entered into with their
customers.

        1.32. Debtor or Debtors means (i) Phoenix Services Topco, LLC; (ii) Phoenix Services Parent,
LLC; (iii) Phoenix Services Holdings Corp.; (iv) Phoenix Services International LLC; (v) Metal Services
LLC; (vi) Terracentric Materials LLC; (vii) Cool Springs LLC; (viii) Metal Services Investment LLC; and
(ix) Phoenix Receivables, LLC.

       1.33. Debtors in Possession means the Debtors in their capacity as debtors in possession in the
Chapter 11 Cases pursuant to sections 1101, 1107(a) and 1108 of the Bankruptcy Code.

        1.34. Definitive Documents means the documents governing the Restructuring Transactions,
including all agreements, instruments, pleadings, orders, forms, and other documents (including all exhibits,
schedules, supplements, appendices, annexes, instructions, and attachments thereto) that are utilized to
implement or effectuate, or that otherwise relate to, the Restructuring Transactions approved by the
Required Consenting Lenders in their sole and absolute discretion, including but not limited to each of the
following: (i) the Disclosure Statement and any Solicitation Materials; (ii) the Disclosure Statement Order

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and any motion seeking entry by the Bankruptcy Court of the Disclosure Statement Order; (iii) the Plan;
(iv) the Plan Supplement; (v) the Confirmation Order; (vi) any New Money Exit Debt Syndication
Documents; (vii) the First Lien Exit Facility Documents; (viii) the New Organizational Documents of
Newco; and (ix) any other documentation necessary to consummate the Restructuring Transactions,
including the Acquisition Transaction.

        1.35. DIP Agent means Wilmington Savings Fund Society, FSB, as administrative agent under
the DIP Credit Agreement, and its successors and assigns, or any replacement agent appointed pursuant to
the terms of the DIP Documents.

         1.36.      DIP Claim means any Claim arising from, or related to, the DIP Documents or the DIP
Order.

         1.37. DIP Credit Agreement means that certain Senior Secured Superpriority Debtor-in-
Possession Credit Agreement, dated as of September 29, 2022, by and among Phoenix Services
International LLC, as borrower, the DIP Agent, and the DIP Lenders, as amended, supplemented, restated,
or otherwise modified from time to time, as approved by the Bankruptcy Court pursuant to the DIP Order.

        1.38. DIP Documents means, collectively, the DIP Credit Agreement and all other “Loan
Documents” (as defined therein), including all other agreements, documents, and instruments delivered or
entered into pursuant thereto or entered into in connection therewith (including any guarantee agreements
and collateral documentation) (in each case, as amended, restated, modified, or supplemented from time to
time).

      1.39. DIP Lenders means the lenders under the DIP Credit Agreement and each other party that
becomes a lender thereunder from time to time in accordance with the terms of the DIP Credit Agreement.

       1.40. DIP Order means the Final Order (I) Authorizing the Debtors to Obtain Postpetition
Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and Providing
Superpriority Administrative Expense Claims, (IV) Granting Adequate Protection, (V) Modifying
Automatic Stay, and (VI) Granting Related Relief (Docket No. 237).

        1.41. DIP Professional Fees means, as of the Effective Date, all reasonable and documented
accrued and unpaid professional fees and expenses payable to the professionals to the DIP Lenders (other
than the DIP Agent) pursuant to the DIP Order.

        1.42. Disallowed means a Claim against a Debtor, or any portion thereof, (a) that has been
disallowed by a Final Order of the Bankruptcy Court, a settlement, or the Plan; (b) that is listed in the
Schedules at zero or as contingent, disputed, or unliquidated and as to which a Bar Date has been established
but no Proof of Claim has been filed; or (c) that is not listed in the Debtors’ Schedules and as to which a
Bar Date has been established but no Proof of Claim has been filed.

        1.43. Disbursing Agent means any Entity (including any applicable Debtor or Reorganized
Debtor if it acts in such capacity) in its capacity as a disbursing agent under Article VI of the Plan.

       1.44. Disclosure Statement means the disclosure statement for the Plan, as approved by the
Bankruptcy Court pursuant to the Disclosure Statement Order.

        1.45. Disclosure Statement Order means the order entered by the Bankruptcy Court finding that
the Disclosure Statement contains adequate information pursuant to section 1125 of the Bankruptcy Code
and authorizing solicitation of the Plan.

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         1.46. Disputed means with respect to a Claim or Interest, any such Claim or Interest (a) that is
neither Allowed nor Disallowed under the Plan or a Final Order, nor deemed Allowed under sections 502,
503, or 1111 of the Bankruptcy Code; (b) that has not been Allowed and is listed as unliquidated, contingent
or disputed in the Schedules; or (c) for which a Proof of Claim for payment has been made and related to
which the Debtors or any party in interest has interposed a timely objection or request for estimation, and
such objection or request for estimation has not been withdrawn or determined by a Final Order. If the
Debtors or a party in interest dispute only a portion of a Claim, such Claim shall be deemed Allowed in any
amount the Debtors or such party in interest do not dispute, and shall be deemed Disputed as to the balance
of such Claim.

         1.47.     Distribution Record Date means the Confirmation Date.

         1.48. Effective Date means the date on which all conditions to the effectiveness of the Plan set
forth in Article IX hereof have been satisfied or waived in accordance with the terms of the Plan.

         1.49.     Entity has the meaning set forth in section 101(15) of the Bankruptcy Code.

         1.50.     ERISA means the Employee Retirement Income Security Act of 1974, as amended.

        1.51. Estate or Estates means, individually or collectively, the estate or estates of the Debtors
created under section 541 of the Bankruptcy Code.

         1.52. Exculpated Parties means, collectively, in each case, solely in their capacities as such: (a)
the Debtors and the Estates; (b) the Debtors’ current and former directors and officers; (c) Professionals
retained by order of the Bankruptcy Court to represent the Debtors or the Creditors’ Committee, including
professionals retained pursuant to the OCP Order; (d) the Creditors’ Committee; (e) the Creditors’
Committee’s members; and (f) with respect to each of the foregoing Entities in clauses (a) through (e), such
Entities’ successors and assigns

       1.53. Existing Equity Interests means all Interests in Phoenix Topco, Phoenix Parent, and
Phoenix Holdings.

         1.54.     Exit Lenders means each holder of loans under the First Lien Exit Facility.

        1.55. Fee Claim means a Claim for professional services rendered or out-of-pocket costs
incurred on or after the Petition Date through the Effective Date by professional persons retained by the
Debtors or the Creditors’ Committee by an order of the Bankruptcy Court pursuant to sections 327, 328,
329, 330, 331, 503(b), or 1103 of the Bankruptcy Code in the Chapter 11 Cases (including any fees of a
professional held back pursuant to the Interim Compensation Order).

         1.56. Final Order means an order or judgment of a court of competent jurisdiction that has been
entered on the docket maintained by the clerk of such court, which has not been reversed, vacated, or stayed
and as to which (a) the time to appeal, petition for certiorari, or move for a new trial, reargument, or
rehearing has expired and as to which no appeal, petition for certiorari, or other proceedings for a new trial,
reargument, or rehearing shall then be pending, or (b) if an appeal, writ of certiorari, new trial, reargument,
or rehearing thereof has been sought, such order or judgment shall have been affirmed by the highest court
to which such order was appealed, or certiorari shall have been denied, or a new trial, reargument, or
rehearing shall have been denied or resulted in no modification of such order, and the time to take any
further appeal, petition for certiorari or move for a new trial, reargument, or rehearing shall have expired;
provided, that, no order or judgment shall fail to be a “Final Order” solely because of the possibility that a
motion under Rules 59 or 60 of the Federal Rules of Civil Procedure or any analogous Bankruptcy Rule (or

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any analogous rules applicable in another court of competent jurisdiction) or sections 502(j) or 1144 of the
Bankruptcy Code has been or may be filed with respect to such order or judgment.

         1.57.     Final Relief has the meaning set forth in the DIP Order.

         1.58. First Lien Exit Facility means the credit facility established pursuant to the First Lien Exit
Facility Credit Agreement, which shall be in the principal amount of (i) the New Money Exit Debt, and (ii)
the Takeback Debt.

        1.59. First Lien Exit Facility Credit Agreement means a credit agreement to be entered into in
connection with the First Lien Exit Facility.

        1.60. First Lien Exit Facility Documents means, collectively, the First Lien Exit Facility Credit
Agreement and all other loan documents, including all other agreements, documents, and instruments
delivered or entered into pursuant thereto or in connection therewith (including any guarantee agreements
and collateral documentation) (in each case, as amended, restated, modified, or supplemented from time to
time).

         1.61. General Unsecured Claim means any unsecured Claim against a Debtor that is not (i) an
Administrative Expense Claim; (ii) a DIP Claim; (iii) a Priority Tax Claim; (iv) an Other Secured Claim;
(v) a Priority Non-Tax Claim; (vi) a Prepetition Lender Claim; (vii) an Intercompany Claim; or (viii) any
Claim arising under 11 U.S.C. § 510(b).

         1.62.     Governmental Unit has the meaning set forth in section 101(27) of the Bankruptcy Code.

        1.63. Guarantors means, collectively, Newco, Newco Parent, Newco Grandparent, and the
material U.S. subsidiaries of Newco, subject to exceptions set forth in the First Lien Exit Facility
Documents.

       1.64. Impaired means, with respect to a Claim, Interest, or Class of Claims or Interests,
“impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

         1.65. Indemnification Obligations means each of the Debtors’ indemnification obligations in
place as of the Effective Date, whether in the bylaws, certificates of incorporation or formation, limited
liability company agreements, other organizational or formation documents, board resolutions,
management, or indemnification agreements, or employment or other contracts, or otherwise, for the
directors and officers that are currently employed by, or serving on the board of directors of, any of the
Debtors, as of the date immediately prior to the Effective Date, and the employees, attorneys, accountants,
investment bankers, and other professionals and agents that are currently employed by any of the Debtors
as of the date immediately prior to the Effective Date.

        1.66. Intercompany Claim means any pre- or postpetition Claim against a Debtor held by
another Debtor, including the Topco Claim.

        1.67. Intercompany Interest means an Interest in a Debtor held by another Debtor, excluding
Existing Equity Interests.

        1.68. Interests means any equity security (as defined in section 101(16) of the Bankruptcy
Code), including all common stock, preferred stock, or other instruments evidencing an ownership interest,
whether or not transferable, and any option, warrant, right, or any other interest that is exercisable,
convertible, or exchangeable into equity, contractual or otherwise, including equity or equity-based

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incentives, grants, or other instruments issued, granted, or promised to be granted to current or former
employees, directors, officers, or contractors, to acquire any such interests that existed immediately before
the Petition Date.

        1.69. Interim Compensation Order means the order of the Bankruptcy Court approving and
authorizing procedures for the payment of interim Fee Claims prior to the Effective Date.

         1.70.     Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

        1.71. Management Incentive Plan means a post-emergence equity-based management incentive
plan under which a percentage of the New Interests may be issued to members of the Reorganized Debtors’
management.

       1.72. New Board means the board of directors, board of managers, or other governing body of
Newco (or such other Entity with decision-making authority with respect to the Reorganized Debtors as
determined by the Required Consenting Lenders), as applicable, appointed by or on behalf of Newco.

        1.73. New Interests means the Interests in Newco Grandparent, which is the ultimate parent
company of all of Reorganized Debtors; provided, that, the New Interests may be Interests in a Reorganized
Debtor if determined in the sole and absolute discretion of the Required Consenting Lenders.

         1.74.     New Money DIP Loans means the “New Money Loans” as set forth in the DIP Order.

         1.75.     New Money Exit Debt means $45,000,000 of new money loans under the First Lien Exit
Facility.

         1.76.     New Money Exit Debt Syndication means the syndication of the New Money Exit Debt.

       1.77. New Money Exit Debt Syndication Documents means the customary syndication
procedures for the New Money Exit Debt which are satisfactory to the Required Consenting Lenders, which
procedures shall be described in the Plan Supplement.

         1.78. New Organizational Documents means the forms of certificates of incorporation,
certificates of formation, limited liability company agreements, or other forms of organizational documents
and bylaws, as applicable, of Newco Grandparent, Newco Parent, Newco, and the Reorganized Debtors.

        1.79. Newco means an Entity to be formed by the DIP Agent at the direction of, and for the
benefit of, the DIP Lenders pursuant to the DIP Credit Agreement and for purposes of implementing the
Restructuring Transactions.

        1.80. Newco Grandparent means an Entity formed by the DIP Agent at the direction of, and for
the benefit of, the DIP Lenders pursuant to the DIP Credit Agreement that indirectly owns Interests in
Newco and directly owns Interests in Newco Parent and for purposes of implementing the Restructuring
Transactions.

        1.81. Newco Parent means an Entity formed by the DIP Agent at the direction of, and for the
benefit of, the DIP Lenders pursuant to the DIP Credit Agreement that directly owns Interests in Newco
and for purposes of implementing the Restructuring Transactions.

       1.82. Newco Participation Contract Right means the right of each of the DIP Lenders provided
hereunder to participate in the New Money Exit Debt on account of holdings of New Money DIP Loans,

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with the Backstop Parties receiving the Backstop Premium and the holders of New Money DIP Loans
receiving the Participation Premium pursuant to allocations set forth in the Acceptable Plan Agreement.

         1.83. Non-Debtor Subsidiary means any corporation, partnership, association or other business
entity of which securities or other ownership interests representing more than 50% of the equity or more
than 50% of the ordinary voting power or more than 50% of the general partnerships are directly or
indirectly owned, controlled, or held by a Debtor.

       1.84. OCP Order means the Order Authorizing Debtors to Employ Professionals Used in the
Ordinary Course of Business (Docket No. 191).

        1.85. Other Secured Claim means a Secured Claim, other than an Administrative Expense
Claim, a DIP Claim, a Priority Tax Claim, or a Prepetition Lender Claim.

       1.86. Participation Premium means a participation premium provided to each of the Exit
Lenders that participate in the New Money Exit Debt Syndication, equal to 70% on a fully diluted basis of
the New Interests (subject to dilution by the Management Incentive Plan) and as described in the Acceptable
Plan Agreement.

         1.87.     Person has the meaning set forth in section 101(41) of the Bankruptcy Code.

       1.88. Petition Date means September 27, 2022, the date on which the Debtors commenced the
Chapter 11 Cases.

         1.89.     Phoenix Holdings means Phoenix Services Holdings Corp.

         1.90.     Phoenix Parent means Phoenix Services Parent, LLC.

         1.91.     Phoenix Services means Phoenix Services International LLC.

         1.92.     Phoenix Topco means Phoenix Services Topco, LLC.

       1.93. Plan means this second amended joint chapter 11 plan of reorganization of the Debtors
contemplated herein, including all appendices, exhibits, schedules, and supplements hereto (including any
appendices, schedules, and supplements to the Plan contained in the Plan Supplement), as the same may be
amended, supplemented, or modified from time to time in accordance with the provisions of the Bankruptcy
Code and the terms hereof.

         1.94. Plan Supplement means a supplemental appendix to the Plan containing, among other
things, substantially final forms of documents, schedules, and exhibits to the Plan to be filed with the
Bankruptcy Court, including the following: (a) the New Organizational Documents (to the extent such New
Organizational Documents reflect material changes from the Debtors’ existing organizational documents);
(b) the Assumption Schedule; (c) the Customer Schedule; (d) the Transaction Steps; and (e) to the extent
known, information required to be disclosed in accordance with section 1129(a)(5) of the Bankruptcy Code.
The Plan Supplement shall be filed with the Bankruptcy Court not later than seven (7) calendar days prior
to the earlier of the Voting Deadline and the deadline to object to confirmation of the Plan; provided, that,
through the Effective Date, the Debtors shall have the right to amend and supplement the Plan Supplement
and any schedules, exhibits, or amendments thereto in accordance with the terms of the Plan.

       1.95. Prepetition Credit Agreement means that certain First Lien Credit Agreement, dated as of
March 1, 2018, among Phoenix Services Holdings Corp., as holdings, Phoenix Services International LLC,

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as borrower, the Prepetition First Lien Administrative Agent and the Prepetition First Lien Lenders, as
amended, supplemented, restated, or otherwise modified from time to time.

        1.96. Prepetition First Lien Administrative Agent means Barclays Bank, PLC, as administrative
agent under the Prepetition Credit Agreement.

         1.97. Prepetition Lender Claims means Claims that consist of up to approximately
$394,949,674.50 in aggregate principal outstanding amount of Prepetition Secured Loans, including
outstanding amounts under issued letters of credit, plus accrued but unpaid prepetition interest, fees,
premiums, and all other obligations, amounts, and expenses arising under or in connection with the
Prepetition Credit Agreement.

        1.98. Prepetition First Lien Lenders means the lenders and issuing banks under the Prepetition
Credit Agreement.

        1.99. Priority Non-Tax Claim means any Claim, other than an Administrative Expense Claim,
Other Secured Claim, or a Priority Tax Claim, entitled to priority in payment as specified in section 507(a)
of the Bankruptcy Code.

      1.100. Prepetition Secured Loans means the “Loans” as defined in the Prepetition Credit
Agreement.

         1.101. Priority Tax Claim means any Secured Claim or unsecured Claim of a Governmental Unit
of the kind entitled to priority in payment as specified in sections 502(i) and 507(a)(8) of the Bankruptcy
Code.

        1.102. Pro Rata means, as applicable, (a) the proportion that an Allowed Claim in a particular
Class bears to the aggregate amount of Allowed Claims and Disputed Claims in such Class; (b) the
proportion that Allowed Claims in a particular Class bear to the aggregate amount of Allowed Claims and
Disputed Claims in a particular Class and other Classes entitled to share in the same recovery as such Class
under the Plan; or (c) with respect to DIP Claims, either (i) the proportion that a holder of a Roll-Up DIP
Loan has compared to the aggregate amount of Roll-Up DIP Loans or (ii) the proportion that a holder of a
New Money DIP Loans has compared to the aggregate amount of New Money DIP Loans.

         1.103. Proof of Claim means a proof of Claim filed in the Chapter 11 Cases.

        1.104. Reinstate, Reinstated, or Reinstatement means rendering a Claim Unimpaired under the
Plan pursuant to section 1124(a)(2) of the Bankruptcy Code.

       1.105. Rejection Damages Claim means any Claim for damages resulting from or based on the
Debtors’ rejection of an executory contract or unexpired lease.

        1.106. Related Parties means an Entity’s predecessors, successors and assigns, parents,
subsidiaries, affiliates, managed accounts or funds, and all of their respective current and former officers,
directors, principals, shareholders (and any fund managers, fiduciaries or other agents of shareholders with
any involvement related to the Debtors), members, partners, employees, agents, trustees, advisory board
members, financial advisors, attorneys, accountants, actuaries, investment bankers, consultants,
representatives, management companies, fund advisors and other professionals, and such persons’
respective heirs, executors, estates, servants and nominees.




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         1.107. Released Parties means, collectively, and in each case, solely in their capacities as such:
(a) the Debtors; (b) the Reorganized Debtors; (c) the Reorganized Debtor Plan Administrator;
(d) Reorganized Non-Acquired Debtors; (e) the DIP Lenders; (f) the DIP Agent; (g) the Consenting
Lenders, (h) each Releasing Prepetition Lender; (i) ANRP II Phoenix Services Holdings (LP); (j) the
Prepetition First Lien Administrative Agent; and (k) with respect to each of the foregoing Entities in clauses
(a) through (j), all Related Parties. For the avoidance of doubt, the Debtors’ current and former directors,
managers, officers, employees, professionals, and shareholders shall each be a Released Party under the
Plan.

         1.108. Releasing Parties means, collectively, and in each case, solely in their capacities as such:
(a) the Debtors; (b) the Reorganized Debtors; (c) the Reorganized Debtor Plan Administrator;
(d) Reorganized Non-Acquired Debtors; (e) the DIP Lenders; (f) the DIP Agent; (g) the Consenting
Lenders; (h) each Releasing Prepetition Lender; (i) ANRP II Phoenix Services Holdings (LP); (j) the
Prepetition First Lien Administrative Agent; and (k) with respect to each of the foregoing Entities in clauses
(a) through (j), all of their respective Related Parties solely with respect to claims that such Entities could
have properly asserted on behalf of such Entities in clauses (a) through (j).

         1.109. Releasing Prepetition Lenders means the holders of Prepetition Lender Claims that vote
in favor of the Plan and elect to opt into the releases in Section 10.6(b) of the Plan on their respective ballot.

         1.110. Reorganized Debtor Plan Administrator means Metal Services LLC.

        1.111. Reorganized Debtors means each Debtor, other than the Reorganized Non-Acquired
Debtors, as reorganized pursuant to and under the Plan, including any transferee or successor thereto by
merger, consolidation, transfer or otherwise, on or after the Effective Date, that are directly or indirectly
acquired by Newco pursuant to the Acquisition Transaction. For the avoidance of doubt, the Reorganized
Non-Acquired Debtors shall not be Reorganized Debtors.

       1.112. Reorganized Non-Acquired Debtors means Reorganized Phoenix Topco, Reorganized
Phoenix Parent, and Reorganized Phoenix Holdings.

         1.113. Reorganized Phoenix Holdings means Phoenix Holdings as reorganized on the Effective
Date.

         1.114. Reorganized Phoenix Parent means Phoenix Parent as reorganized on the Effective Date.

         1.115. Reorganized Phoenix Services means Phoenix Services as reorganized on the Effective
Date.

         1.116. Reorganized Phoenix Topco means Phoenix Topco as reorganized on the Effective Date.

         1.117. Required Consenting Lenders means, as of the relevant date, Consenting Lenders who
own or control more than 50% in aggregate outstanding principal amount of (a) New Money DIP Loans
and (b) the Roll-Up DIP Loans, in each case owned or controlled by all Consenting Lenders in the aggregate
as of such date.

        1.118. Restructuring Professional Fees means the reasonable and documented fees, costs, and
expenses incurred by advisors of (i) the Ad Hoc Group and DIP Agent, including without limitation, (a) the
fees, costs, and expenses of Gibson, Dunn, Crutcher LLP, Evercore Group L.L.C., and Pachulski Stang
Ziehl & Jones LLP, and (b) all monthly fees, restructuring, transaction, and back-end fees payable to
Evercore Group L.L.C., and (ii) the Prepetition First Lien Administrative Agent, including without

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limitation, the fees, costs, and expenses of Davis Polk & Wardwell LLP and Morris, Nichols, Arsht &
Tunnell LLP.

        1.119. Restructuring Transactions means the restructuring of the Debtors, the principal terms of
which are set forth in the Plan and the Plan Supplement, and which for the avoidance of doubt, shall include
the Acquisition Transaction.

         1.120. Roll-Up DIP Loans has the meaning set forth in the DIP Order.

       1.121. Senior Management means Steve Hall, Clint McGinty, Jeff Mellen, Mark Porto, Robert
Richard and Carlos Sarmento.

         1.122. Schedules means, collectively, the schedules of assets and liabilities, schedules of
executory contracts and unexpired leases, and statements of financial affairs filed by the Debtors pursuant
to section 521 of the Bankruptcy Code and in substantial accordance with the Official Bankruptcy Forms,
as the same may have been amended, modified, or supplemented from time to time.

          1.123. Secured Claim means a Claim (a) secured by a Lien on collateral to the extent of the value
of such collateral as (i) set forth in the Plan; (ii) agreed to by the holder of such Claim and the Debtors; or
(iii) determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code, or (b) secured
by the amount of any right of setoff of the holder thereof in accordance with section 553 of the Bankruptcy
Code.

         1.124. Security has the meaning set forth in section 101(49) of the Bankruptcy Code.

        1.125. Solicitation Materials means all materials provided in connection with the solicitation of
votes on the Plan pursuant to sections 1125 and 1126 of the Bankruptcy Code, in form and substance
acceptable to the Required Consenting Lenders.

         1.126. Specified Customers has the meaning set forth in the DIP Credit Agreement.

         1.127. Specified Senior Management Agreements means those certain prepetition employment
agreements entered into between Phoenix Holdings and Senior Management, as applicable, that are
identified in the Plan Supplement.

         1.128. Statutory Fees means all fees and charges assessed against the Estates pursuant to sections
1911 through 1930 of chapter 123 of title 28 of the United States Code, including interest, if any, pursuant
to section 3717 of title 31 of the United States Code.

         1.129. Takeback Debt means loans under the First Lien Exit Facility in the principal amount equal
to the outstanding principal amount of the New Money DIP Loans plus all accrued and unpaid interest,
fees, premiums, and all other obligations on account of the New Money DIP Loans, in each case calculated
as of the Effective Date.

        1.130. Topco Claim means a Claim held by Phoenix Topco in the amount of $3,828,850.48 arising
from that certain intercompany transfer to Metal Services LLC on September 28, 2022.

       1.131. Transaction Steps means the steps agreed to between the Debtors and Required
Consenting Lenders to implement the Restructuring Transactions.




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       1.132. Unimpaired means, with respect to a Claim, Interest, or Class of Claims or Interests, not
“impaired” within the meaning of section 1124 of the Bankruptcy Code.

         1.133. U.S. Trustee means the Office of the United States Trustee for the District of Delaware.

        1.134. Voting Deadline means the date set by the Bankruptcy Court by which all completed
ballots must be received, which date may be extended by the Debtors in accordance with the Disclosure
Statement Order.

        1.135. Workers’ Compensation Claim means a Cause of Action held by an employee of the
Debtors for workers’ compensation coverage under the workers’ compensation program applicable in the
particular state in which the employee is employed by the Debtors.

        1.136. Zurich means Zurich American Insurance Company, American Zurich Insurance
Company, Zurich Insurance Ltd, and any of their affiliates which have issued insurance policies to any of
the Debtors, and any third party administrators with respect to such insurance policies that have been issued
by the foregoing entities, and any respective predecessors and/or affiliates.

       1.137. Zurich Insurance Contract means all insurance policies that have been issued by Zurich
and provide coverage at any time to any of the Debtors (or any of their predecessors), and all agreements,
documents, or instruments relating thereto.

         B.        Interpretation; Application of Definitions and Rules of Construction.

                 Unless otherwise specified, all section or exhibit references in the Plan are to the respective
section in, or exhibit to, the Plan, as the same may be amended, waived, or modified from time to time.
The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import refer to the Plan as
a whole and not to any particular section, subsection, or clause contained therein. The headings in the Plan
are for convenience of reference only and shall not limit or otherwise affect the provisions hereof. For
purposes herein: (1) in the appropriate context, each term, whether stated in the singular or the plural, shall
include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender, (2) any reference herein to a contract, lease,
instrument, release, indenture, or other agreement or document being in a particular form or on particular
terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions, (3) unless otherwise specified, all references herein to “Sections” are
references to Sections hereof or hereto, (4) the rules of construction set forth in section 102 of the
Bankruptcy Code shall apply, and (5) any term used in capitalized form herein that is not otherwise defined
but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that
term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

         C.        Reference to Monetary Figures.

                All references in the Plan to monetary figures shall refer to the legal tender of the United
States of America, unless otherwise expressly provided.

         D.        Controlling Document.

                In the event of an inconsistency between the terms and provisions in the Plan (without
reference to the Plan Supplement) and the terms and provisions in the Disclosure Statement, the Plan
Supplement, any other instrument or document created or executed pursuant to the Plan (including any
Definitive Document) or any order (other than the Confirmation Order) referenced in the Plan (or any

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exhibits, schedules, appendices, supplements or amendments to any of the foregoing), the Plan (without
reference to the Plan Supplement) shall govern and control. Notwithstanding anything herein to the
contrary, in the event of a conflict between the Confirmation Order, on the one hand, and any of the Plan,
the Plan Supplement, or the Definitive Documents, on the other hand, the Confirmation Order shall govern
and control in all respects.

         E.        Certain Consent Rights.

                Notwithstanding anything in the Plan to the contrary, any Definitive Document, including
any amendments, restatements, supplements, or other modifications to such documents, and any consents,
waivers, or other deviations under or from any such documents, shall be incorporated herein by this
reference (including to the applicable definitions in Article I hereof) and fully enforceable as if stated in
full herein.

ARTICLE II.               ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

         2.1       Administrative Expense Claims.

                  Except to the extent that a holder of an Allowed Administrative Expense Claim agrees to
less favorable treatment, each holder of an Allowed Administrative Expense Claim (other than a DIP Claim,
Intercompany Claim or a Fee Claim) shall receive, in full and final satisfaction of such Claim, Cash in an
amount equal to such Allowed Administrative Expense Claim on, or as soon thereafter as is reasonably
practicable, the later of (a) the Effective Date and (b) the first Business Day after the date that is ten (10)
calendar days after the date such Administrative Expense Claim becomes an Allowed Administrative
Expense Claim, unless otherwise required by a Final Order; provided, that, Allowed Administrative
Expense Claims representing liabilities incurred in the ordinary course of business by the Debtors, as
Debtors in Possession, shall be paid by the Reorganized Debtors in the ordinary course of business,
consistent with past practice and in accordance with the terms and subject to the conditions of any course
of dealing or agreements governing, instruments evidencing, or other documents relating to such
transactions.

         2.2       Fee Claims.

                 (a)     All Entities seeking an award by the Bankruptcy Court of Fee Claims shall file
with the Bankruptcy Court, on or before the date that is forty-five (45) days after the Effective Date, their
respective final applications for allowance of compensation for services rendered and reimbursement of
expenses incurred from the Petition Date through the Effective Date. Objections to any Fee Claims must
be filed and served on counsel to the Reorganized Debtors, the U.S. Trustee, and the requesting party no
later than twenty-one (21) calendar days after the filing of the final applications for compensation or
reimbursement (unless otherwise agreed by the Debtors or the Reorganized Debtors, as applicable, and the
party requesting compensation of a Fee Claim).

                 (b)    Allowed Fee Claims shall be paid in full, in Cash, in such amounts as are Allowed
by the Bankruptcy Court (i) within five (5) calendar days of an order relating to any such Allowed Fee
Claim is entered or as soon as reasonably practicable thereafter, or (ii) upon such other terms as may be
mutually agreed upon between the holder of such an Allowed Fee Claim and the Debtors or the Reorganized
Debtors, as applicable. Notwithstanding the foregoing, any Fee Claims that are authorized to be paid
pursuant to any administrative orders entered by the Bankruptcy Court, including the Interim Compensation
Order, may be paid at the times and in the amounts authorized pursuant to such orders.



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                 (c)     On or prior to the Effective Date, holders of Fee Claims shall provide a reasonable
estimate of unpaid Fee Claims incurred in rendering services before the Effective Date to the Debtors or
the Reorganized Debtors, as applicable, and the Debtors and Reorganized Debtors, as applicable, shall
separately escrow for such estimated amounts for the benefit of the holders of the Fee Claims until the fee
applications related thereto are resolved by Final Order or agreement of the parties. If a holder of a Fee
Claim does not provide an estimate, the Debtors or Reorganized Debtors, as applicable, may estimate the
unpaid and unbilled reasonable and necessary fees and out-of-pocket expenses of such holder of a Fee
Claim. When all such Allowed Fee Claims have been paid in full, any remaining amount in such escrow
shall promptly be released from such escrow and revert to, and ownership thereof shall vest in, the
Reorganized Debtors without any further action or order of the Bankruptcy Court.

                (d)     The Reorganized Debtors are authorized to pay compensation for services
rendered or reimbursement of expenses incurred after the Effective Date in the ordinary course and without
the need for Bankruptcy Court approval.

         2.3       Priority Tax Claims.

                 Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable
treatment, each holder of an Allowed Priority Tax Claim shall receive, in full and final satisfaction of such
Allowed Priority Tax Claim, at the option of the Debtors or the Reorganized Debtors, as applicable:
(a) Cash in an amount equal to such Allowed Priority Tax Claim on, or as soon thereafter as is reasonably
practicable, the later of (i) the Effective Date, to the extent such Claim is an Allowed Priority Tax Claim
on the Effective Date; (ii) the first Business Day after the date that is thirty (30) calendar days after the date
such Priority Tax Claim becomes an Allowed Priority Tax Claim; and (iii) the date such Allowed Priority
Tax Claim is due and payable in the ordinary course as such obligation becomes due, or (b) such other
treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code. All Allowed
Priority Tax Claims that are not due and payable on or before the Effective Date shall be paid in the ordinary
course of business or under applicable non-bankruptcy law as such obligations become due.

         2.4       DIP Claims and DIP Professional Fees.

                 (a)      DIP Claims. On the Effective Date, all Allowed DIP Claims (including, but not
limited to, any right to the Exit Fee (as defined in the DIP Credit Agreement)) shall, in full satisfaction,
settlement, release, and discharge of the Allowed DIP Claims, be exchanged, subject in all respects to the
terms of the Acceptable Plan Agreement and pursuant to the Acquisition Transaction, for (i) on account of
the Roll-Up DIP Loans, its Pro Rata share (based on such holder’s proportionate share of all Allowed DIP
Claims on account of the Roll-Up DIP Loans) of 99.0% of the New Interests that are issued and outstanding
on the Effective Date, subject to dilution by the Management Incentive Plan, the Participation Premium,
and the Backstop Premium; (ii) on account of the New Money DIP Loans, its Pro Rata share (based on such
holder’s proportionate share of all Allowed DIP Claims on account of the New Money DIP Loans) of the
principal amount of the Takeback Debt; and (iii) on account of the New Money DIP Loans, its Pro Rata
share (based on such holder’s proportionate share of all Allowed DIP Claims on account of the New Money
DIP Loans) of the Newco Participation Contract Right.

                (b)     DIP Professional Fees. On the Effective Date, any and all reasonable DIP
Professional Fees not previously paid pursuant to the DIP Order shall be indefeasibly paid in full in Cash;
provided, that: (i) any professional seeking payment of DIP Professional Fees from the Debtors shall
provide the Debtors with a summary invoice of such professional’s DIP Professional Fees and a reasonable
estimate of such Professional’s DIP Professional Fees through the Effective Date; and (ii) any DIP
Professional Fees paid on the Effective Date shall be subject to the notice and review period requirements
under the DIP Order, and subject to reimbursement if any such DIP Professional Fees are denied pursuant

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to a Final Order and to the procedures set forth in the DIP Order. Any amount of estimated DIP Professional
Fees that is not applied to actual DIP Professional Fees shall be returned to the Reorganized Debtors by the
applicable professional as soon as reasonably practicable following the Effective Date.

ARTICLE III.               CLASSIFICATION OF CLAIMS AND INTERESTS.

          3.1      Classification in General.

                 A Claim or Interest is placed in a particular Class for all purposes, including voting,
confirmation, and distribution under the Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy
Code; provided, that, a Claim or Interest is placed in a particular Class for the purpose of receiving
distributions pursuant to the Plan only to the extent that such Claim or Interest is an Allowed Claim or
Allowed Interest in that Class and such Allowed Claim or Allowed Interest has not been satisfied, released,
or otherwise settled prior to the Effective Date.

          3.2      Grouping of Debtors for Convenience Only.

                 The Plan groups the Debtors together solely for the purpose of describing treatment under
the Plan, confirmation of the Plan, and making distributions in accordance with the Plan in respect of Claims
against and Interests in the Debtors under the Plan. Such groupings shall not affect any Debtor’s status as
a separate legal Entity, result in substantive consolidation of any Estates, change the organizational structure
of the Debtors’ business enterprise, constitute a change of control of any Debtor for any purpose, cause a
merger or consolidation of any legal Entities, or cause the transfer of any Assets. Except as otherwise
provided by or permitted under the Plan, all Debtors shall continue to exist as separate legal Entities after
the Effective Date.

          3.3      Summary of Classification.

                  The following table designates the Classes of Claims against and Interests in each of the
Debtors and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan; (b) entitled to
vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code; and (c) presumed
to accept or deemed to reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy Code,
Administrative Expense Claims, Priority Tax Claims and DIP Claims, have not been classified. The
classification of Claims and Interests set forth herein shall apply separately to each of the Debtors. All of
the potential Classes for the Debtors are set forth herein. Certain of the Debtors may not have holders of
Claims or Interests in a particular Class or Classes, and such Classes shall be treated as set forth in Section
3.5 of the Plan.

  Class                Designation                    Treatment                   Entitled to Vote
    1       Priority Non-Tax Claims                   Unimpaired              No (Presumed to Accept)
    2       Other Secured Claims                      Unimpaired              No (Presumed to Accept)
    3       Prepetition Lender Claims                  Impaired                         Yes
    4       General Unsecured Claims                   Impaired                No (Deemed to Reject)
                                                                            No (Presumed to Accept) / No
    5       Intercompany Claims                  Unimpaired/Impaired
                                                                                 (Deemed to Reject)
                                                                            No (Presumed to Accept) / No
    6       Intercompany Interests               Unimpaired/Impaired
                                                                                 (Deemed to Reject)
    7       Existing Equity Interests                  Impaired                No (Deemed to Reject)



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         3.4       Special Provision Governing Unimpaired Claims.

                  Except as otherwise provided in the Plan, nothing under the Plan shall affect the rights of
the Debtors the Reorganized Debtors, as applicable, in respect of any Unimpaired Claims, including all
rights in respect of legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired
Claims.

         3.5       Elimination of Vacant Classes.

                Any Class of Claims against or Interests in a Debtor that, as of the commencement of the
Confirmation Hearing, does not have at least one (1) holder of a Claim or Interest that is Allowed in an
amount greater than zero for voting purposes shall be considered vacant, deemed eliminated from the Plan
of such Debtor for purposes of voting to accept or reject such Debtor’s Plan, and disregarded for purposes
of determining whether such Debtor’s Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect
to that Class.

ARTICLE IV.               TREATMENT OF CLAIMS AND INTERESTS.

         4.1       Priority Non-Tax Claims (Class 1).

                          a)      Classification: Class 1 consists of Priority Non-Tax Claims.

                          b)       Treatment: Except to the extent that a holder of an Allowed Priority Non-
Tax Claim against any of the Debtors agrees to a less favorable treatment of such Claim, in full and final
satisfaction of such Allowed Priority Non-Tax Claim, at the option of the Debtors or the Reorganized
Debtors, as applicable, with the consent of the Required Consenting Lenders, (i) each such holder shall
receive payment in Cash in an amount equal to the amount of such Allowed Claim, payable on the later of
the Effective Date and the date that is ten (10) Business Days after the date on which such Priority Non-
Tax Claim becomes an Allowed Priority Non-Tax Claim, in each case, or as soon as reasonably practicable
thereafter; (ii) such holder’s Allowed Priority Non-Tax Claim shall be Reinstated; or (iii) such holder shall
receive such other treatment so as to render such holder’s Allowed Priority Non-Tax Claim Unimpaired
pursuant to section 1124 of the Bankruptcy Code.

                        c)       Voting: Class 1 is Unimpaired, and the holders of Priority Non-Tax
Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code. Therefore, holders of Priority Non-Tax Claims are not entitled to vote to accept or reject the Plan,
and the votes of such holders will not be solicited with respect to Priority Non-Tax Claims.

         4.2       Other Secured Claims (Class 2).

                         a)       Classification: Class 2 consists of the Other Secured Claims. To the
extent that the Other Secured Claims are secured by different collateral or different interests in the same
collateral, such Claims shall be treated as separate subclasses of Class 2 for purposes of voting to accept or
reject the Plan and receiving distributions under the Plan.

                          b)     Treatment: Except to the extent that a holder of an Allowed Other
Secured Claim against any of the Debtors agrees to a less favorable treatment of such Claim, in full and
final satisfaction of such Allowed Other Secured Claim, at the option of the Debtors or the Reorganized
Debtors, as applicable, with the consent of the Required Consenting Lenders, (i) each such holder shall
receive payment in Cash in an amount equal to the amount of such Allowed Claim, payable on the later of
the Effective Date and the date that is ten (10) Business Days after the date on which such Other Secured

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Claim becomes an Allowed Other Secured Claim, in each case, or as soon as reasonably practicable
thereafter; (ii) such holder’s Allowed Other Secured Claim shall be Reinstated; (iii) such holder shall
receive the collateral securing its Allowed Other Secured Claim; or (iv) such holder shall receive such other
treatment so as to render such holder’s Allowed Other Secured Claim Unimpaired pursuant to section 1124
of the Bankruptcy Code.

                        c)       Voting: Class 2 is Unimpaired, and the holders of Other Secured Claims
are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, holders of Other Secured Claims are not entitled to vote to accept or reject the Plan, and the
votes of such holders will not be solicited with respect to such Other Secured Claims.

         4.3       Prepetition Lender Claims (Class 3).

                          a)      Classification: Class 3 consists of Prepetition Lender Claims.

                          b)       Treatment: On the Effective Date, each Allowed Prepetition Lender
Claim will be released and extinguished, and each holder of an Allowed Prepetition Lender Claim shall
receive, in full and final satisfaction of such Allowed Prepetition Lender Claim its Pro Rata share (based
on such holder’s proportionate share of all Allowed Prepetition Lender Claims) of 1.0% of the New Interests
that are issued and outstanding on the Effective Date, subject to dilution by the Management Incentive Plan,
the Participation Premium, and the Backstop Premium.

                          c)       Voting: Class 3 is Impaired, and the holders of Prepetition Lender Claims
in Class 3 are entitled to vote to accept or reject the Plan.

         4.4       General Unsecured Claims (Class 4).

                      a)     Classification: Class 4 consists of General Unsecured Claims, including
any Rejection Damages Claim.

                         b)      Treatment: On the Effective Date, each Allowed General Unsecured
Claim will be discharged, and each holder of an Allowed General Unsecured Claim shall not receive any
distribution on account of its General Unsecured Claim.

                         c)       Voting: Class 4 is Impaired, and the holders of General Unsecured Claims
in Class 4 are conclusively presumed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, holders of General Unsecured Claims are not entitled to vote to accept or
reject the Plan and the votes of such holders will not be solicited with respect to such General Unsecured
Claims.

         4.5       Intercompany Claims (Class 5).

                          a)      Classification: Class 5 consists of Intercompany Claims.

                           b)       Treatment: On the Effective Date, all Intercompany Claims shall be, at
the option of the Debtors, with the consent of the Required Consenting Lenders, either: (i) Reinstated or
(ii) distributed, contributed, set off, cancelled, released, or otherwise addressed at the option of the Debtors
(without any distribution on account of such Claims); provided, that, treatment of the Topco Claim shall be
acceptable to the Required Consenting Lenders in their sole and absolute discretion.



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                          c)       Voting: Class 5 is either (i) Unimpaired, and the holders of Intercompany
Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code or (ii) Impaired and are conclusively presumed to have rejected the Plan pursuant to section 1126(g)
of the Bankruptcy Code. Therefore, holders of Intercompany Claims are not entitled to vote to accept or
reject the Plan, and the votes of such holders will not be solicited with respect to such Intercompany Claims.

         4.6       Intercompany Interests (Class 6).

                          a)      Classification: Class 6 consists of Intercompany Interests.

                           b)      Treatment: On the Effective Date, all Intercompany Interests (regardless
of priority) shall be, at the option of the Debtors, with the consent of the Required Consenting Lenders,
either: (i) Reinstated or (ii) cancelled and released without any distribution on account of such Interests.

                         c)      Voting: Class 6 is either (i) Unimpaired, and the holders of Intercompany
Interests are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code or (ii) Impaired and are conclusively presumed to have rejected the Plan pursuant to section 1126(g)
of the Bankruptcy Code. Therefore, holders of Intercompany Interests are not entitled to vote to accept or
reject the Plan, and the votes of such holders will not be solicited with respect to such Intercompany
Interests.

         4.7       Existing Equity Interests (Class 7).

                          a)      Classification: Class 7 consists of Existing Equity Interests.

                          b)      Treatment: On the Effective Date, all Existing Equity Interests will be
cancelled, released, and extinguished and will be of no further force and effect. No holders of Existing
Equity Interests will receive a distribution under the Plan.

                        c)       Voting: Class 7 is Impaired, and the holders of Existing Equity Interests
are conclusively presumed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
Therefore, holders of Existing Equity Interests are not entitled to vote to accept or reject the Plan, and the
votes of such holders will not be solicited with respect to such Existing Equity Interests.

ARTICLE V.                MEANS FOR IMPLEMENTATION.

         5.1       Implementation.

                On the Effective Date, the Restructuring Transactions will be implemented as follows,
subject to modification as agreed in the Transaction Steps or otherwise agreed to by the Debtors and the
Required Consenting Lenders:

                1.      all holders of Allowed Claims will receive the treatment provided under the Plan,
and each of the Debtors will receive a discharge of all Claims (except for the DIP Claims) pursuant to 11
U.S.C. § 1141(d)(1)(A);

                2.       the DIP Agent shall form Newco Grandparent, which shall in turn form Newco
Parent, which shall in turn form Newco;

                3.       Newco Grandparent shall contribute its Interests (the New Interests) to Newco
Parent, which shall in turn contribute the New Interests to Newco;

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                4.      Newco shall acquire 100% of the assets of Reorganized Phoenix Holdings in
exchange for the consideration to be set forth in the Transaction Steps;

                 5.      the DIP Claims shall be credit bid pursuant to the Transaction Steps in exchange
for the treatment afforded to holders of DIP Claims under the Plan;

                 6.      pursuant to the Transaction Steps: (i) holders of the Roll-Up DIP Loans shall
receive their Pro Rata share of 99.0% of the New Interests (subject to dilution by the Management Incentive
Plan, the Participation Premium, and the Backstop Premium); (ii) holders of New Money DIP Loans shall
receive their Pro Rata amount of Takeback Debt, which Takeback Debt shall be in the principal amount of
the outstanding amount of the New Money DIP Loans (including all accrued and unpaid interest, fees,
premiums, and all other obligations on account of the New Money DIP Loans); (iii) holders of DIP Claims
on account of the New Money DIP Loans shall receive a Newco Participation Contract Right to participate
in the New Money Exit Debt; and (iv) holders of the Prepetition Lender Claims shall receive their Pro Rata
share of 1.0% of the New Interests (subject to dilution by the Management Incentive Plan, the Participation
Premium, and the Backstop Premium);

                 7.  the New Money Exit Debt Syndication will be conducted with respect to
$45,000,000 of New Money Exit Debt, which will be included in the principal amount of the First Lien
Exit Facility; and

                  8.     Newco Grandparent shall contribute additional New Interests (in an amount equal
to or equivalent of the Backstop Premium and Participation Premium) to Newco Parent, which shall in turn
contribute such additional New Interests to Newco, following which the DIP Lenders participating in the
New Money Exit Facility (pursuant to the Newco Participation Contract Right) will pay cash in the amount
of $45,000,000 to Newco pursuant to the New Money Exit Debt Syndication in exchange for the New
Interests (in an amount equal to or equivalent to the Backstop Premium and Participation Premium) and the
New Money Exit Debt.

         5.2       No Substantive Consolidation.

                The Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan for each Debtor. The Plan is not
premised on, and does not provide for, the substantive consolidation of the Debtors with respect to the
Classes of Claims or Interests set forth in the Plan, or otherwise.

         5.3       Compromise and Settlement of Claims, Interests, and Controversies.

                 (a)      Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and
in consideration for the distributions and other benefits provided pursuant to the Plan, the Plan is, and shall
be deemed, a good-faith compromise and settlement by and among the Debtors, the DIP Lenders, the DIP
Agent, and the Releasing Prepetition Lenders of all Claims and controversies among such parties, including
all Claims and controversies relating to Prepetition Lender Claims and General Unsecured Claims.

                 (b)      The compromises, settlements, and releases described herein shall be deemed
nonseverable from each other and from all other terms of the Plan. In accordance with the provisions of
the Plan, pursuant to Bankruptcy Rule 9019, without any further notice to or action, order, or approval of
the Bankruptcy Court, after the Effective Date, the Reorganized Debtors may compromise and settle Claims
against, and Interests in, the Debtors and their Estates and Causes of Action against other Entities.



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         5.4       Restructuring Professional Fees.

                  To the extent not otherwise paid, the Debtors shall promptly pay outstanding and invoiced
Restructuring Professional Fees as follows: (a) on the Effective Date, reasonable Restructuring
Professional Fees incurred during the period prior to the Effective Date to the extent invoiced to the Debtors
on or about the Effective Date, provided, that any Restructuring Professional Fees paid on the Effective
Date shall be subject to the notice and review period requirements under the DIP Order, and subject to
reimbursement if any such Restructuring Professional Fees are denied pursuant to a Final Order and to the
procedures set forth in the DIP Order and (b) after the Effective Date, any unpaid Restructuring Professional
Fees within ten (10) Business Days of receiving an invoice; provided, that, such Restructuring Professional
Fees shall be paid in accordance with the terms of any applicable engagement letters or other contractual
arrangements (including, in the case of the Prepetition First Lien Administrative Agent, the Prepetition
Credit Agreement notwithstanding any discharge or other provisions of the Plan) without the requirement
for the filing of retention applications, fee applications, or any other applications in the Chapter 11 Cases.

         5.5       Restructuring Transactions; Effectuating Documents.

                   (a)      Following the Confirmation Date, the Debtors, the Reorganized Debtors, or the
Reorganized Non-Acquired Debtors, as applicable, may take all actions as may be necessary or appropriate
to effectuate any transaction described in, approved by, contemplated by, or necessary to effectuate the
Plan, including (i) the execution and delivery of appropriate agreements or other documents of merger,
amalgamation, consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance,
dissolution, cancellation, sale, purchase, or liquidation containing terms that are consistent with the terms
of the Plan; (ii) the execution and delivery of appropriate instruments of transfer, assignment, assumption,
or delegation of any asset, property, right, liability, debt, or obligation on terms consistent with the terms
of the Plan; (iii) the filing of appropriate certificates or articles of incorporation, reincorporation, merger,
consolidation, conversion, amalgamation, arrangement, continuance, cancellation, or dissolution pursuant
to applicable state or federal law; (iv) the execution and delivery of the Definitive Documents; (v) the
issuance of securities, all of which shall be authorized and approved in all respects in each case without
further action being required under applicable law, regulation, order, or rule; (vi) such other transactions
that are necessary or appropriate to implement the Plan in the most tax efficient manner; and (vii) all other
actions that the applicable Entities determine to be necessary or appropriate, including making filings or
recordings that may be required by applicable law or the First Lien Exit Facility Credit Agreement, as
applicable.

                 (b)      The Restructuring Transactions will be structured and implemented in a tax-
efficient and cost-efficient manner agreed by the Required Consenting Lenders in their sole and absolute
discretion and any resulting taxes shall be consistent with, and not result in any material amendments to,
the Business Plan. The Debtors shall work with its management, the Consenting Lenders and outside
advisors to seek to (i) minimize any current cash taxes payable by the Debtors resulting from the
Restructuring Transactions; (ii) maximize the Debtors’ favorable tax attributes after the Restructuring
Transactions; and (iii) optimize the tax structure for the Debtors and its prospective operations and conduct
of its businesses (including, but not limited to, the restructuring of certain intercompany obligations
between the Debtors). The Restructuring Transactions are subject to tax diligence by the Consenting
Lenders, and shall be structured in a manner that minimizes any changes in tax attributes or tax profile of
the Debtors that would reasonably be expected to impair the Debtors’ ability to perform and/or meet
applicable targets and forecasts under the approved Business Plan. For the avoidance of doubt, such
Restructuring Transactions may, subject to the consent of the Required Consenting Lenders, take the form
of a taxable sale transaction or any other transaction that would reasonably not be expected to impair the
Debtors’ ability to perform and/or meet applicable targets and forecasts under the approved Business Plan.


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                 (c)      Each officer, member of the board of directors, or manager of the Debtors is, and
each officer, member of the board of directors, or manager of the Reorganized Debtors shall be, authorized
and directed to issue, execute, deliver, file, or record such contracts, securities, instruments, releases,
indentures, and other agreements or documents and take such actions as may be necessary or appropriate
to effectuate, implement, and further evidence the terms and conditions of the Plan and the securities issued
pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, all of which shall be
authorized and approved in all respects, in each case, without the need for any approvals, authorization,
consents, or any further action required under applicable law, regulation, order, or rule (including any action
by the stockholders or directors or managers of the Debtors or the Reorganized Debtors) except for those
expressly required pursuant to the Plan.

                (d)     All matters provided for herein involving the corporate structure of the Debtors or
Reorganized Debtors, or any corporate, limited liability company, or related action required by the Debtors
or Reorganized Debtors in connection herewith shall be deemed to have occurred and shall be in effect,
without any requirement of further action by the stockholders, members, board, or directors or managers of
the Debtors or Reorganized Debtors, and with like effect as though such action had been taken unanimously
by the stockholders, members, directors, managers, or officers, as applicable, of the Debtors or Reorganized
Debtors.

         5.6       Continued Corporate Existence; Dissolution.

                 (a)     Except as otherwise provided in the Plan, the Debtors shall continue to exist after
the Effective Date as Reorganized Debtors or Reorganized Non-Acquired Debtors, in accordance with the
applicable laws of the respective jurisdictions in which they are incorporated or organized and pursuant to
the New Organizational Documents, which shall be in form and substance acceptable to the Required
Consenting Lenders in their sole and absolute discretion. The New Organizational Documents shall include
terms and provisions that are usual and customary for organizational documents of reorganized debtors, all
of which shall be acceptable to the Required Consenting Lenders in their sole and absolute discretion. On
or after the Effective Date, each Reorganized Debtor or Reorganized Non-Acquired Debtor may take such
action that may be necessary or appropriate as permitted by applicable law, instruments and agreements,
and such Reorganized Debtor’s or Reorganized Non-Acquired Debtor’s organizational documents, as such
Reorganized Debtor or Reorganized Non-Acquired Debtor may determine is reasonable and appropriate
with the consent of the Required Consenting Lenders. For the avoidance of doubt, the Debtors may include
in the Plan Supplement, with the consent of the Required Consenting Lenders, additional corporate
Transaction Steps necessary for tax and legal efficiency and administrative purposes.

                (b)     After the Effective Date, the Reorganized Debtors shall be authorized to dissolve
the Debtors or the Reorganized Debtors in accordance with applicable law or otherwise as part of a
Restructuring Transaction, including, for the avoidance of doubt, any conversion of any of the Debtors or
the Reorganized Debtors pursuant to applicable law.

                (c)     After the Effective Date, the Reorganized Debtor Plan Administrator (or any
designee of the Reorganized Debtor Plan Administrator) shall be authorized to dissolve the Reorganized
Non-Acquired Debtors in accordance with applicable law or otherwise as part of a Restructuring
Transaction, including, for the avoidance of doubt, any conversion of any Reorganized Non-Acquired
Debtors pursuant to applicable law or any conversion to chapter 7 of the Bankruptcy Code of any of the
Reorganized Non-Acquired Debtors pursuant to applicable law.

                (d)     Any such dissolution described in this Section 5.6 may be effective as of the
Effective Date without any further action by any shareholder, director, manager, board, or member of the
Debtors.

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         5.7       Reorganized Debtor Plan Administrator.

                (a)      Appointment. The Reorganized Debtor Plan Administrator’s retention shall
commence on the Effective Date and shall continue until the Chapter 11 Case of each Debtor has been
closed pursuant to an order of the Bankruptcy Court.

                 (b)     Responsibilities.      The responsibilities of the Reorganized Debtor Plan
Administrator shall include (a) facilitating the Reorganized Debtors’ prosecution or settlement of objections
to and estimations of Claims; (b) prosecution or settlement of claims and Causes of Action held by the
Reorganized Debtors; (c) calculating and assisting the Disbursing Agent in implementing all distributions
in accordance with the Plan; (d) filing all required tax returns and paying taxes and all other obligations on
behalf of the Reorganized Debtors from funds held by the Reorganized Debtors; (e) periodic reporting to
the Bankruptcy Court, of the status of the Claims resolution process, distributions on Allowed Claims and
prosecution of Causes of Action; and (f) such other responsibilities as may be vested in the Reorganized
Debtor Plan Administrator pursuant to the Plan or Bankruptcy Court order or as may be necessary and
proper to carry out the provisions of the Plan.

                 (c)     Authority. The powers of the Reorganized Debtor Plan Administrator shall,
without any further Bankruptcy Court approval in each of the following cases, include (a) the power to
invest funds in, and withdraw, make distributions and pay taxes and other obligations owed by the
Reorganized Debtors or Reorganized Non-Acquired Debtors from funds held by the Reorganized Debtor
Plan Administrator in accordance with the Plan; (b) the power to compromise and settle claims and causes
of action on behalf of or against the Reorganized Debtors or Reorganized Non-Acquired Debtors; and
(c) such other powers as may be vested in or assumed by the Reorganized Debtor Plan Administrator
pursuant to the Plan or as may be deemed necessary and proper to carry out the provisions of the Plan.

         5.8       First Lien Exit Facility.

                  The First Lien Exit Facility and the proceeds thereof shall be used, among other things, to
(i) fund distributions, costs, and expenses contemplated by the Plan, and/or (ii) fund general working capital
and for general corporate purposes of the Reorganized Debtors. The obligations under the First Lien Exit
Facility Credit Agreement shall be secured by a first priority lien on substantially all the assets of the
Borrower and the Guarantors, including 100% of the equity of the Non-Debtor Subsidiaries, subject to
customary carve-outs. Subject to the terms and conditions of the Acceptable Plan Agreement, on the
Effective Date, the First Lien Exit Facility Credit Agreement shall be executed and delivered. The
Reorganized Debtors shall be authorized to execute, deliver, and enter into and perform under the First Lien
Exit Facility Credit Agreement without the need for any further corporate or limited liability company
action and without further action by the holders of Claims or Interests.

         5.9       Authorization, Issuance, and Distribution of New Interests.

                 (a)     On the Effective Date, upon consummation of the Acquisition Transaction, 100%
of the assets of Reorganized Phoenix Holdings shall vest in Newco. The New Interests will be distributed
in accordance with the Plan and be issued and distributed free and clear of all Liens, Claims and other
Interests.

                 (b)     100% of the Interests in Reorganized Non-Acquired Debtors shall vest in the
Reorganized Debtor Plan Administrator (or any designee of the Reorganized Debtor Plan Administrator)
solely for purposes of taking the steps necessary to dissolve the Reorganized Non-Acquired Debtors under
applicable state law.


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         5.10      Section 1145 Exemption.

                 (a)     The offer, issuance, and distribution of the New Interests to holders of DIP Claims
and Prepetition Lender Claims under Section 4.3 of the Plan, other than in respect of the Backstop Premium
and/or Participation Premium, shall be exempt, to the fullest extent permitted pursuant to section 1145 of
the Bankruptcy Code, without further act or action by any Person, from registration under (i) the Securities
Act of 1933, as amended, and all rules and regulations promulgated thereunder and (ii) any state or local
law requiring registration for the offer, issuance, or distribution of Securities. The offer, issuance and
distribution of the New Interests in respect of the Backstop Premium and Participation Premium will be
exempt from registration under the Securities Act pursuant to section 4(a)(2) of the Securities Act or
Regulation D thereunder.

                 (b)      Under section 1145 of the Bankruptcy Code, any securities issued under the Plan
that are exempt from such registration pursuant to section 1145(a) of the Bankruptcy Code will be freely
tradable by the recipients thereof, subject to (i) the provisions of section 1145(b)(1) of the Bankruptcy Code
relating to the definition of an underwriter in section 2(a)(11) of the Securities Act of 1933, as amended;
(ii) compliance with any rules and regulations of the U.S. Securities and Exchange Commission, if any,
applicable at the time of any future transfer of such securities or instruments; (iii) the restrictions, if any,
on the transferability of such securities and instruments, including any restrictions on the transferability
under the terms of the New Organizational Documents; and (iv) applicable regulatory approval. Persons
who receive the New Interests pursuant to the exemption from registration set forth in section 4(a)(2) of the
Securities Act or Regulation D promulgated thereunder will hold “restricted securities” and may not be
transferred except pursuant to an effective registration statement or under an available exemption from the
registration requirements of the Securities Act. Resales of such restricted securities would not be exempted
by section 1145 of the Bankruptcy Code from registration under the Securities Act or other applicable law.
Holders of such restricted securities would, however, under certain conditions, be permitted to resell New
Interests without registration if they are able to comply with the applicable provisions of Rule 144 or Rule
144A or any other registration exemption under the Securities Act, or if such sales of restricted securities
are registered under the Securities Act.

               (c)     All Persons and Entities shall be required to accept and conclusively rely upon the
Plan and Confirmation Order in lieu of a legal opinion regarding whether the New Interests is exempt from
registration.

                 (d)      Notwithstanding anything to the contrary in the Plan or otherwise, no Person or
Entity may require a legal opinion regarding the validity of any transaction contemplated by the Plan,
including, for the avoidance of doubt, whether the New Interests are exempt from registration or validly
issued, fully paid, and non-assessable.

         5.11      Cancellation of Existing Securities and Agreements.

                 (a)      Except for the purpose of evidencing a right to a distribution under the Plan and
except as otherwise set forth in the Plan, including with respect to executory contracts or unexpired leases
that shall be assumed by the Debtors, on the Effective Date, all agreements, instruments, and other
documents evidencing any Allowed DIP Claims and Allowed Prepetition Lender Claims, or any Interest
(other than Intercompany Interests that are not modified by the Plan) and any rights or Liens of any holder
in respect thereof shall be deemed cancelled, discharged, and of no force or effect and the obligations of
the Debtors thereunder shall be deemed fully satisfied, released, and discharged, and the holders of
Prepetition Lender Claims shall be authorized and directed to release any collateral or other property of the
Debtors (including any Cash collateral) held by such holder.


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                  (b)      Notwithstanding such cancellation and discharge and the releases contained in
Article X of the Plan, the DIP Credit Agreement and the Prepetition Credit Agreement shall continue in
effect solely to the extent necessary to (i) allow the holders of Allowed DIP Claims and Allowed Prepetition
Lender Claims to receive distributions under the Plan; (ii) allow the Debtors, the Reorganized Debtors, the
DIP Agent, the Prepetition First Lien Administrative Agent, and the Disbursing Agent, as applicable, to
make post Effective Date distributions or take such other action pursuant to the Plan on account of the
Allowed DIP Claims and Allowed Prepetition Lender Claims, as applicable, and to otherwise exercise their
rights and discharge their obligations relating to the interests of the holders of such Claims in accordance
with the Plan; provided, that all distributions to holders of Prepetition Lender Claims shall be made by the
Disbursing Agent at the direction of the Prepetition First Lien Administrative Agent, rather than by the
Prepetition First Lien Administrative Agent itself; (iii) allow holders of Claims to retain their respective
rights and obligations vis-à-vis other holders of Claims pursuant to any applicable loan documents,
including any rights of each Issuing Bank (as defined in the Prepetition Credit Agreement) and obligations
of each Revolving Facility Lender (as defined in the Prepetition Credit Agreement) with respect to
payments in respect of L/C Disbursements (as defined in the Prepetition Credit Agreement) not reimbursed
by the Borrower (as defined in the Prepetition Credit Agreement); (iv) allow the DIP Agent and the
Prepetition First Lien Administrative Agent, as applicable, to enforce any obligations owed to them under
the Plan (including seeking compensation and reimbursement for any reasonable and documented fees and
expenses as provided in the DIP Documents, the Prepetition Credit Agreement or the Plan); (v) preserve
the DIP Agent’s and the Prepetition First Lien Administrative Agent’s rights to any contingent or
indemnification obligations of the Debtors or Reorganized Debtors pursuant and subject to the terms of the
DIP Credit Agreement or DIP Order and the Prepetition Credit Agreement; and provided that, for the
avoidance of doubt, the Reorganized Debtors shall assume the obligation of the Debtors to indemnify the
DIP Agent and Prepetition First Lien Administrative Agent in connection with any claims or causes of
action that may be asserted in connection with the Acquisition Transaction or the Restructuring
Transactions; (vi) permit the DIP Agent and Prepetition First Lien Administrative Agent, as applicable, to
perform any function necessary to effectuate the foregoing; and (vii) permit the DIP Agent and the
Prepetition First Lien Administrative Agent, as applicable, to appear in the Chapter 11 Cases or in any
proceeding in the Bankruptcy Court or any other court relating to the DIP Documents, the Prepetition Credit
Agreement, the Plan or the Confirmation Order; provided, that, nothing in this Section 5.11 shall affect the
discharge of Claims pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan or result in any
liability or expense to the Reorganized Debtors. Without limiting the foregoing, the DIP Agent and the
Prepetition First Lien Administrative Agent, as applicable, shall receive all distributions made by the
Disbursing Agent under the Plan on account of the respective DIP Claims of each DIP Lender and
Prepetition Lender Claims of each Prepetition First Lien Lender as of the Distribution Record Date, as
applicable, and shall distribute them in any manner permitted by the DIP Credit Agreement, Prepetition
Credit Agreement, the Plan, or the Confirmation Order; provided, that the Disbursing Agent shall, at the
direction of the Prepetition First Lien Administrative Agent, make distributions on account of Prepetition
Lender Claims directly to the holders of such claims. The DIP Agent and Prepetition First Lien
Administrative Agent, as applicable, shall be entitled to receive from the Reorganized Debtors their
reasonable fees (including attorneys’ fees) and expenses incurred in making distributions, as applicable, in
accordance with the DIP Credit Agreement, Prepetition Credit Agreement, the Plan, and the Confirmation
Order and be entitled to indemnities from the Reorganized Debtors in connection therewith.

                 (c)      Notwithstanding the foregoing, any provision in any document, instrument, lease,
or other agreement that causes or effectuates, or purports to cause or effectuate, a default, termination,
waiver, or other forfeiture of, or by, the Debtors of their interests, as a result of the cancellations,
terminations, satisfaction, releases, or discharges provided for in this Section 5.11 shall be deemed null and
void and shall be of no force and effect.



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                 (d)     Except for the foregoing, on and after the Effective Date, all duties and
responsibilities of the Prepetition First Lien Administrative Agent and the DIP Agent shall be fully
discharged (i) unless otherwise specifically set forth in or provided for under the Plan, the Plan Supplement,
or the Confirmation Order and (ii) except with respect to such other rights of the Prepetition First Lien
Administrative Agent and the DIP Agent that, pursuant to the Prepetition Credit Agreement or DIP
Documents, as applicable, survive the termination of such Prepetition Credit Agreement or DIP Documents.
Subsequent to the performance by the Prepetition First Lien Administrative Agent or DIP Agent of its
obligations pursuant to the Plan and Confirmation Order, such Prepetition First Lien Administrative Agent
or DIP Agent and its agents shall be relieved of all further duties and responsibilities related to the
Prepetition Credit Agreement or DIP Documents, as applicable.

         5.12      Retention of Causes of Action.

                 (a)    Except as otherwise provided in the Plan or the Confirmation Order, on the
Effective Date, each Reorganized Debtor shall retain all of the applicable Debtor’s Causes of Action. Each
Reorganized Debtor may enforce, prosecute, settle, release, or compromise (or decline to do any of the
foregoing) all such Causes of Action. Any Causes of Action belonging to the Reorganized Non-Acquired
Debtors shall be assigned to and vest in Newco.

              (b)      Notwithstanding the foregoing, the Debtors shall waive all, and no Reorganized
Debtor, Reorganized Non-Acquired Debtor or any other Person (on behalf of the Debtors or the
Reorganized Debtors) shall have any, Causes of Action pursuant to section 547 of the Bankruptcy Code.

         5.13      Officers and Boards of Directors.

                (a)    On the Effective Date, Newco shall appoint the New Board. The members of the
New Board shall be selected and approved by the Required Consenting Lenders in their sole and absolute
discretion. The composition of the New Board shall be disclosed in accordance with section 1129(a)(5) of
the Bankruptcy Code.

                (b)     Except as otherwise provided in the Plan Supplement, the officers of the respective
Debtors immediately before the Effective Date, as applicable, shall serve as the initial officers of each of
the respective Reorganized Debtors on and after the Effective Date and in accordance with the Plan and
applicable non-bankruptcy law.

                 (c)     Except to the extent that a member of the board of directors or managers, as
applicable, of a Debtor continues to serve as a director or manager of the respective Reorganized Debtor
on and after the Effective Date, the members of the board of directors or managers of each Debtor prior to
the Effective Date, in their capacities as such, shall have no continuing obligations to the Reorganized
Debtors on or after the Effective Date and each such director or manager will be deemed to have resigned
or shall otherwise cease to be a director or manager of the applicable Debtor on the Effective Date.

                (d)    Commencing on the Effective Date, each of the directors and managers of each of
the Reorganized Debtors shall be elected and serve pursuant to the terms of the applicable organizational
documents of such Reorganized Debtor and may be replaced or removed in accordance with such
organizational documents.

         5.14      Cancellation of Liens.

                Except as otherwise specifically provided herein, including pursuant to Section 5.11 of the
Plan, upon the payment in full in Cash of an Other Secured Claim, any Lien securing an Other Secured

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Claim that is paid in full, in Cash, shall be deemed released, and the holder of such Other Secured Claim
shall be authorized and directed to release any collateral or other property of the Debtors (including any
Cash collateral) held by such holder and to take such actions as may be requested by the Reorganized
Debtors, to evidence the release of such Lien, including the execution, delivery and filing or recording of
such releases as may be requested by the Reorganized Debtors.

         5.15      Employee Matters.

                (a)     On the Effective Date, the Debtors shall be deemed to have assumed the Specified
Senior Management Agreements. Notwithstanding anything contrary in the Employment Arrangements,
the consummation of the Plan shall not be treated as a change in control or change of control or other similar
transaction under the Specified Senior Management Agreements.

                (b)    All Specified Senior Management Agreements shall be assumed and assigned to
Newco (or such other Entity with decision-making authority with respect to the Reorganized Debtors as
determined by the Required Consenting Lenders).

         5.16      Management Incentive Plan.

                 (a)     No later than thirty (30) days after the Effective Date, the New Board shall adopt
a Management Incentive Plan that provides for the issuance of equity and equity-based awards (“Awards”)
to employees, consultants and directors/managers of Newco, the Reorganized Debtors, and/or the Non-
Debtor Subsidiaries. The New Board shall reserve a pool of New Interests under the Management Incentive
Plan representing up to 10% on a fully-diluted basis (or as otherwise agreed by the Required Consenting
Lenders prior to the entry of the Confirmation Order) of the issued and outstanding New Interests as of the
Effective Date (the “MIP Pool”), inclusive of New Interests reserved in the MIP Pool.

                (b)    The form of the Awards, the participants in the Management Incentive Plan, the
allocations of the Awards to such participants, and the terms and conditions of the Awards shall be
determined by the New Board in its sole and absolute discretion.

         5.17      Customer Contracts.

                 The Debtors shall be authorized to enter into those certain contracts with their customers
listed on the Customer Schedule, and such contracts shall be deemed effective as of the Effective Date.

         5.18      Nonconsensual Confirmation.

                The Debtors intend to undertake to have the Bankruptcy Court confirm the Plan under
section 1129(b) of the Bankruptcy Code as to any Classes that reject or are deemed to reject the Plan.

         5.19      Closing of Chapter 11 Cases.

                The Reorganized Debtors or the Reorganized Debtor Plan Administrator, as applicable,
shall seek authority from the Bankruptcy Court to close the applicable Chapter 11 Case(s) in accordance
with the Bankruptcy Code and Bankruptcy Rules.

         5.20      Notice of Effective Date.

                As soon as practicable following the Effective Date, the Debtors shall file a notice of the
occurrence of the Effective Date with the Bankruptcy Court.

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         5.21      Separability.

                  Notwithstanding the combination of the separate plans of reorganization for the Debtors
set forth in the Plan for purposes of economy and efficiency, the Plan constitutes a separate chapter 11 plan
for each Debtor. Accordingly, if the Bankruptcy Court does not confirm the Plan with respect to one or
more Debtors, it may still, subject to the consent of the applicable Debtor(s) and the Required Consenting
Lenders, confirm the Plan with respect to any other Debtor that satisfies the confirmation requirements of
section 1129 of the Bankruptcy Code.

ARTICLE VI.                DISTRIBUTIONS.

         6.1       Distributions Generally.

                Except as otherwise provided in the Plan, the Disbursing Agent shall make all distributions
under the Plan to the appropriate holders of Allowed Claims in accordance with the terms of the Plan.

         6.2       Distribution Record Date.

                 As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Interests as maintained by the Debtors or their respective agents, shall
be deemed closed, and there shall be no further changes in the record holders of any of the Claims or
Interests. The Debtors or the Reorganized Debtors shall have no obligation to recognize any transfer of the
Claims or Interests occurring on or after the Distribution Record Date. In addition, with respect to payment
of any Cure Amounts or disputes over any Cure Amounts, neither the Debtors nor the Disbursing Agent
shall have any obligation to recognize or deal with any party other than the non-Debtor party to the
applicable executory contract or unexpired lease as of the close of business on the Distribution Record Date,
even if such non-Debtor party has sold, assigned, or otherwise transferred its Claim for a Cure Amount.
For the avoidance of doubt, the Distribution Record Date shall not apply to the DIP Claims and the
Prepetition Lender Claims, the holders of which shall receive a distribution in accordance with Article IV
of the Plan on or as soon as practicable after the Effective Date. For the further avoidance of doubt, all
distributions made pursuant to the Plan on account of the DIP Claims and Prepetition Lender Claims shall
be made by the Disbursing Agent to, or at the direction of, the DIP Agent or the Prepetition First Lien
Administrative Agent, as applicable, for further distribution to holders of DIP Claims and Prepetition
Lender Claims in accordance with the Plan and the Confirmation Order, subject to and in accordance with
the terms of the DIP Credit Agreement and Prepetition Credit Agreement, as applicable.

         6.3       Date of Distributions.

                 Except as otherwise provided in the Plan, any distributions and deliveries to be made under
the Plan shall be made on the Effective Date or as otherwise determined in accordance with the Plan,
including the treatment provisions of Article IV of the Plan, or as soon as practicable thereafter; provided,
that, the Reorganized Debtors may implement periodic distribution dates to the extent they reasonably
determine them to be appropriate.

         6.4       Disbursing Agent.

                A Disbursing Agent shall not be required to give any bond or surety or other security for
the performance of its duties, and all reasonable fees and expenses incurred by such Disbursing Agents
directly related to distributions hereunder shall be reimbursed by the Reorganized Debtors. The
Reorganized Debtors shall use commercially reasonable efforts to provide the Disbursing Agent (if other
than the Reorganized Debtors) with the amounts of Claims and the identities and addresses of holders of

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Claims and Interests as of the Distribution Record Date, in each case, as set forth on the claims register.
The Reorganized Debtors shall cooperate in good faith with the applicable Disbursing Agent (if other than
the Reorganized Debtors) to comply with the reporting and withholding requirements outlined in Section
6.18 of the Plan.

         6.5       Rights and Powers of Disbursing Agent.

                  (a)      From and after the Effective Date, the Disbursing Agent, solely in its capacity as
Disbursing Agent, shall be exculpated by all Entities, including holders of Claims against and Interests in
the Debtors and other parties in interest, from any and all claims, Causes of Action, and other assertions of
liability arising out of the discharge of the powers and duties conferred upon such Disbursing Agent by the
Plan or any order of the Bankruptcy Court entered pursuant to or in furtherance of the Plan, or applicable
law, except for actions or omissions to act arising out of the gross negligence or willful misconduct, fraud,
malpractice, criminal conduct, or ultra vires acts of such Disbursing Agent. No holder of a Claim or Interest
or other party in interest shall have or pursue any Claim or Cause of Action against the Disbursing Agent,
solely in its capacity as Disbursing Agent, for making payments in accordance with the Plan or for
implementing provisions of the Plan, except for actions or omissions to act arising out of the gross
negligence or willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts of such
Disbursing Agent.

                  (b)     The Disbursing Agent shall be empowered to (i) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties hereunder; (ii) make all
distributions contemplated hereby; (iii) employ professionals to represent it with respect to its
responsibilities; and (iv) exercise such other powers as may be vested in the Disbursing Agent by order of
the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing Agent to be necessary and
proper to implement the provisions of the Plan.

         6.6       Expenses of Disbursing Agent.

               To the extent the Disbursing Agent is an Entity other than a Debtor or Reorganized Debtor,
except as otherwise ordered by the Bankruptcy Court and subject to the written agreement of the
Reorganized Debtors, the amount of any reasonable fees and expenses incurred by the Disbursing Agent
on or after the Effective Date (including taxes) and any reasonable compensation and expense
reimbursement Claims (including for reasonable attorneys’ and other professional fees and expenses) made
by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors in the ordinary course of
business.

         6.7       No Postpetition Interest on Claims.

                  Except as otherwise provided in the Plan, the Confirmation Order, or another order of the
Bankruptcy Court or required by the Bankruptcy Code, interest shall not accrue or be paid on any Claims
on or after the Petition Date; provided, that, other than with respect to DIP Claims or Other Secured Claims,
if interest is payable pursuant to the preceding sentence, interest shall accrue at the federal judgment rate
pursuant to 28 U.S.C. § 1961 on a non-compounded basis from the date the obligation underlying the Claim
becomes due and is not timely paid through the date of payment.

         6.8       Delivery of Distributions.

                (a)      In the event that any distribution to any holder is returned as undeliverable, the
Disbursing Agent shall review its books and records to determine if it possesses additional or different
mailing addresses for such holder. If, after such review, the Disbursing Agent is unable to locate a different

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or additional address for such holder, no further distributions shall be made to such holder unless and until
such Disbursing Agent is notified in writing of such holder’s then-current address, at which time all
currently-due, missed distributions shall be made to such holder as soon as reasonably practicable thereafter
without interest. Except as set forth in this Section 6.8(a), nothing herein shall require the Disbursing Agent
to attempt to locate holders of undeliverable distributions and, if located, assist such holders in complying
with Section 6.10 of the Plan.

                (b)      No fractional shares of New Interests shall be distributed under the Plan. When
any distribution of New Interests under the Plan would otherwise result in the issuance of a number of
shares of New Interests that is not a whole number, the actual distribution of shares of New Interests shall
be rounded as follows: (i) fractions of one-half (½) or greater shall be rounded to the next higher whole
number; and (ii) fractions of less than one-half (½) shall be rounded to the next lower whole number with
no further payment therefor. The total number of authorized shares of New Interests to be distributed
pursuant to the Plan shall be adjusted as necessary to account for the rounding provided in this Article
6.8(b).

         6.9       Distributions after Effective Date.

               Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be deemed to have
been made on the Effective Date.

         6.10      Unclaimed Property.

                 Undeliverable distributions or unclaimed distributions shall remain in the possession of the
Debtors or the Reorganized Debtors, as applicable, until such time as a distribution becomes deliverable or
holder accepts distribution, or such distribution reverts back to the Debtors or the Reorganized Debtors, as
applicable, and shall not be supplemented with any interest, dividends, or other accruals of any kind. Such
distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the
expiration of one hundred and eighty (180) days from the date of distribution. After such date, and
notwithstanding Section 5.11 or any other provision of the Plan, all unclaimed property or interest in
property shall revert to the Reorganized Debtors and the Claim of any other holder to such property or
interest in property shall be discharged and forever barred, notwithstanding any federal or state escheat laws
to the contrary.

         6.11      Time Bar to Cash Payments.

                  Checks issued by the Disbursing Agent in respect of Allowed Claims shall be null and void
if not negotiated within one hundred eighty (180) days after the date of issuance thereof. Thereafter, the
amount represented by such voided check shall irrevocably revert to the Reorganized Debtors, and any
Claim in respect of such voided check shall be discharged and forever barred, notwithstanding any federal
or state escheat laws to the contrary. Requests for re-issuance of any check within one hundred eighty (180)
days after issuance shall be made to the Disbursing Agent by the holder of the Allowed Claim to whom
such check was originally issued.

         6.12      Manner of Payment under Plan.

                Except as otherwise specifically provided in the Plan, at the option of the Debtors or the
Reorganized Debtors, any Cash payment to be made hereunder may be made by a check or wire transfer or
as otherwise required or provided in applicable agreement(s) or customary practices of the Debtors.


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         6.13      Satisfaction of Claims.

                  Except as otherwise specifically provided in the Plan, and in accordance with sections 5.3
and 10.3 of the Plan, any distributions and deliveries to be made on account of Allowed Claims under the
Plan shall be in complete and final satisfaction, settlement, and discharge of and exchange for such Allowed
Claims.

         6.14      Minimum Cash Distributions.

                 The Disbursing Agent shall not be required to make any distribution of Cash less than One
Hundred Dollars ($100) to any holder of an Allowed Claim; provided, that, if any distribution is not made
pursuant to this Section 6.14, such distribution shall be added to any subsequent distribution to be made on
behalf of the holder’s Allowed Claim.

         6.15      Setoffs and Recoupments.

                 The Debtors, the Reorganized Debtors and Reorganized Non-Acquired Debtors as
applicable, may, but shall not be required to, set off or recoup against any Claim, and any distribution to be
made on account of such Claim, any and all claims, rights, and Causes of Action of any nature whatsoever
that the Debtors or the Reorganized Debtors may have against the holder of such Claim pursuant to the
Bankruptcy Code or applicable nonbankruptcy law; provided, that, neither the failure to do so nor the
allowance of any Claim hereunder shall constitute a waiver or release by a Debtor or a Reorganized Debtor
or its successor of any claims, rights, or Causes of Action that a Debtor or Reorganized Debtor or its
successor or assign may possess against the holder of such Claim.

         6.16      Allocation of Distributions between Principal and Interest.

                  Except as otherwise required by law (as reasonably determined by the Debtors or the
Reorganized Debtors), distributions with respect to Allowed Claims shall be allocated first to the principal
portion of such Allowed Claim (as determined for United States federal income tax purposes) and,
thereafter, to the remaining portion of such Allowed Claim, if any.

         6.17      No Distribution in Excess of Amount of Allowed Claim.

                Notwithstanding anything in the Plan to the contrary, no holder of an Allowed Claim shall
receive, on account of such Allowed Claim, distributions under the Plan in excess of the Allowed amount
of such Claim.

         6.18      Withholding and Reporting Requirements.

                 (a)      Withholding Rights. In connection with the Plan, any party issuing any instrument
or making any distribution contemplated by the Plan shall comply with all applicable withholding and
reporting requirements imposed by any federal, state, or local taxing authority, and all distributions pursuant
to the Plan and all related agreements shall be subject to any such withholding or reporting requirements.
In the case of a non-Cash distribution that is subject to withholding, the issuing and distributing party or
any other withholding agent may, in its sole discretion, withhold an appropriate portion of such distributed
property and either (i) sell such withheld property to generate Cash necessary to pay over the withholding
tax (or reimburse the distributing party for any advance payment of the withholding tax), or (ii) pay the
withholding tax using its own funds and retain such withheld property. Any amounts withheld pursuant to
the preceding sentence, and paid over to the applicable Governmental Unit, shall be deemed to have been
distributed to and received by the applicable recipient for all purposes of the Plan. Notwithstanding the

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foregoing, each holder of an Allowed Claim or any other Entity that receives a distribution pursuant to the
Plan shall have the sole and exclusive responsibility for the satisfaction and payment of any taxes imposed
by any Governmental Unit, including income, withholding, and other taxes, on account of such distribution.
In the event any party issues any instrument or makes any non-Cash distribution pursuant to the Plan that
is subject to withholding tax and such withholding agent or issuing or distributing party has not sold such
withheld property to generate Cash to pay the withholding tax or paid the withholding tax using its own
funds and retains such withheld property as described above, such withholding agent or issuing or
distributing party has the right, but not the obligation, to not make a distribution until such holder has made
arrangements reasonably satisfactory to such withholding agent or issuing or disbursing party for payment
of any such tax obligations. Any amounts withheld pursuant to the Plan shall be deemed to have been
distributed to and received by the applicable recipient for all purposes of the Plan. The withholding agent
or issuing or distributing party may, pursuant to Section 6.19(b), require a holder of an Allowed Claim or
any other Entity that receives a distribution pursuant to the Plan to complete and return a Form W-8 or W-
9, as applicable to each such holder, and any other applicable forms.

                (b)      Forms. Any party entitled to receive any property as an issuance or distribution
under the Plan shall, upon request, deliver to the Disbursing Agent or such other Entity designated by the
Debtors, Reorganized Debtors, withholding agent, or any such other issuing or distributing party (which
Entity shall subsequently deliver to the Disbursing Agent any applicable IRS Form W-8 or Form W-9
received) an appropriate Form W-9 or (if the payee is a foreign Entity) Form W-8, and any other forms or
documents reasonably requested by any Reorganized Debtor to reduce or eliminate any withholding
required by any federal, state, or local taxing authority.

ARTICLE VII.              PROCEDURES FOR DISPUTED CLAIMS.

         7.1       Objections to Claims.

                  The Debtors or Reorganized Debtors, as applicable, shall be entitled to object to Claims.
After the Effective Date, the Debtors or Reorganized Debtors, as applicable, shall have and retain any and
all rights and defenses that the Debtors had with regard to any Claim to which they may object, except with
respect to any Claim that is Allowed. Any objections to Claims shall be served and filed on or before the
Claims Objection Bar Date.

         7.2       Resolution of Disputed Administrative Expenses and Disputed Claims.

                On and after the Effective Date, the Debtors or Reorganized Debtors, as applicable, shall
have the authority to compromise, settle, withdraw, or otherwise resolve any objections to Claims without
approval of the Bankruptcy Court, other than with respect to Fee Claims.

         7.3       Payments and Distributions with Respect to Disputed Claims.

                Notwithstanding anything herein to the contrary, if any portion of a Claim is a Disputed
Claim, no payment or distribution provided hereunder shall be made on account of such Claim unless and
until such Disputed Claim becomes an Allowed Claim.

         7.4       Distributions after Allowance.

                After such time as a Disputed Claim becomes, in whole or in part, an Allowed Claim, the
holder thereof shall be entitled to distributions, if any, to which such holder is then entitled as provided in
the Plan, without interest, as provided in Section 7.9 of the Plan. Such distributions shall be made as soon


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as practicable after the date that the order or judgment of the Bankruptcy Court allowing such Disputed
Claim (or portion thereof) becomes a Final Order.

         7.5       Disallowance of Claims.

                 Except to the extent otherwise agreed to by the Debtors or Reorganized Debtors, as
applicable, any Claims held by Entities from which property is recoverable under sections 542, 543, 550,
or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under section 522(f), 522(h),
544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, as determined by a Final Order, shall be deemed
disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders of such Claims may not receive
any distributions on account of such Claims until such time as such Causes of Action against that Entity
have been settled or a Final Order with respect thereto has been entered and all sums due, if any, to the
Debtors by that Entity have been turned over or paid to the Debtors or the Reorganized Debtors. All Proofs
of Claim filed on account of an indemnification obligation to a current or former director, manager, officer,
or employee shall be deemed satisfied and expunged from the claims register as of the Effective Date to the
extent such indemnification obligation is assumed (or honored or reaffirmed, as the case may be) pursuant
to the Plan, without any further notice to or action, order, or approval of the Bankruptcy Court.

         7.6       Estimation of Claims.

                The Debtors or the Reorganized Debtors, as applicable, may determine, resolve and
otherwise adjudicate all contingent Claims, unliquidated Claims and Disputed Claims in the Bankruptcy
Court. The Debtors or the Reorganized Debtors, as applicable, may at any time request that the Bankruptcy
Court estimate any contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the
Bankruptcy Code for any reason or purpose. The Bankruptcy Court shall retain jurisdiction to estimate any
Claim at any time during litigation concerning any objection to any Claim, including, during the pendency
of any appeal relating to any such objection. If the Bankruptcy Court estimates any contingent Claim,
unliquidated Claim or Disputed Claim, that estimated amount shall constitute the maximum limitation on
such Claim, and the Debtors or the Reorganized Debtors, as applicable, may pursue supplementary
proceedings to object to the ultimate allowance of such Claim; provided, that, such limitation shall not
apply to Claims requested by the Debtors to be estimated for voting purposes only.

         7.7       No Distributions Pending Allowance.

                  If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or
distribution provided under the Plan shall be made on account of such Claim unless and until (and only to
the extent that) such Claim becomes an Allowed Claim.

         7.8       Claim Resolution Procedures Cumulative.

                All of the objection, estimation, and resolution procedures in the Plan are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
compromised, withdrawn, or resolved in accordance with the Plan without further notice or Bankruptcy
Court approval.

         7.9       Interest.

                 To the extent that a Disputed Claim becomes an Allowed Claim after the Effective Date,
the holder of such Claim shall not be entitled to any interest that accrued thereon from and after the Effective
Date.


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ARTICLE VIII.             EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

         8.1       General Treatment.

                  (a)       As of and subject to the occurrence of the Effective Date, all executory contracts
and unexpired leases to which any of the Debtors are parties shall, in consultation with, and subject to the
consent of the Required Consenting Lenders in their sole and absolute discretion, be deemed rejected, unless
such contract or lease (i) was previously assumed or rejected by the Debtors pursuant to an order of the
Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms or by agreement of the
parties thereto; (iii) is the subject of a motion to assume filed by the Debtors on or before the Effective
Date; or (iv) is specifically designated as a contract or lease to be assumed on the Assumption Schedule.

                 (b)    Subject to the occurrence of the Effective Date, entry of the Confirmation Order
by the Bankruptcy Court shall constitute approval of the assumptions, assumptions and assignments,
including assignments to another Debtor, or rejections provided for in the Plan pursuant to sections 365(a)
and 1123 of the Bankruptcy Code. Each executory contract and unexpired lease assumed pursuant to the
Plan shall vest in and be fully enforceable by the applicable Reorganized Debtor in accordance with its
terms, except as modified by the provisions of the Plan, any order of the Bankruptcy Court authorizing and
providing for its assumption or assumption and assignment, or applicable law.

               (c)      For the avoidance of doubt, without the consent of the Required Consenting
Lenders, no obligation to fund any joint venture shall be assumed, modified, rejected, or not otherwise
assumed.

         8.2       Determination of Cure Disputes and Deemed Consent.

                (a)      Any Cure Amount shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Amount, as reflected in the applicable cure notice, in Cash on
the Effective Date, subject to the limitations described below, or on such other terms as the parties to such
executory contracts or unexpired leases and the Debtors may otherwise agree.

                  (b)     The Debtors shall file, as part of the Plan Supplement, the Assumption Schedule.
At least fourteen (14) days before the commencement of the Confirmation Hearing, the Debtors shall serve
a notice on parties to executory contracts or unexpired leases to be assumed reflecting the Debtors’ intention
to assume the contract or lease in connection with the Plan and, where applicable, setting forth the proposed
Cure Amount (if any). Any objection by a counterparty to an executory contract or unexpired lease
to the proposed assumption, assumption and assignment, or related Cure Amount must be filed,
served, and actually received by the Debtors within ten (10) days of the service of the assumption
notice, or such shorter period as agreed to by the parties or authorized by the Bankruptcy Court.
Any counterparty to an executory contract or unexpired lease that fails to object timely to the proposed
assumption, assumption and assignment, or Cure Amount (i) shall be deemed to have assented to such
assumption, assumption and assignment, or Cure Amount, notwithstanding any provision thereof that
purports to (1) prohibit, restrict, or condition the transfer or assignment of such contract or lease or
(2) terminate or permit the termination of a contract or lease as a result of any direct or indirect transfer or
assignment of the rights of the Debtors under such contract or lease or a change, if any, in the ownership or
control to the extent contemplated by the Plan, and shall forever be barred and enjoined from asserting such
objection against the Debtors or terminating or modifying such contract or lease on account of transactions
contemplated by the Plan and (ii) shall be forever barred, estopped, and enjoined from challenging the
validity of such assumption or assumption and assignment, as applicable, thereafter.



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                (c)     If there is a dispute pertaining to the assumption of an executory contract or
unexpired lease (other than a dispute pertaining to a Cure Amount), such dispute shall be heard by the
Bankruptcy Court prior to the assumption being effective; provided, that, the Debtors or the Reorganized
Debtors may settle any such dispute without any further notice to, or action by, any party or order of the
Bankruptcy Court.

                 (d)      To the extent a dispute relates to Cure Amounts, the Debtors may assume and/or
assume and assign the applicable executory contract or unexpired lease prior to the resolution of such cure
dispute; provided, that, the Debtors or the Reorganized Debtors reserve Cash in an amount sufficient to pay
the full amount reasonably asserted as the Cure Amount by the counterparty to such executory contract or
unexpired lease.

                 (e)     Assumption or assumption and assignment of any executory contract or unexpired
lease pursuant to the Plan or otherwise shall result in the full release and satisfaction of any Claims against
any Debtor or defaults by any Debtor, whether monetary or nonmonetary, including defaults of provisions
restricting the change in control or ownership interest composition or other bankruptcy-related defaults,
arising under any assumed executory contract or unexpired lease at any time before the date that the Debtors
assume or assume and assign such executory contract or unexpired lease. Any Proofs of Claim filed with
respect to an executory contract or unexpired lease that has been assumed shall be deemed disallowed and
expunged, without further notice to or action, order, or approval of the Bankruptcy Court or any other
Entity, upon the assumption of such executory contract or unexpired lease.

         8.3       Rejection Damages Claims.

         In the event that the rejection of an executory contract or unexpired lease hereunder results in
damages to the other party or parties to such contract or lease, any Claim for such damages shall be
classified as a General Unsecured Claim. Because there are no distributions provided to General Unsecured
Claims, such claims need not be filed.

         8.4       Indemnification Obligations.

                Notwithstanding anything in the Plan to the contrary, each Indemnification Obligation shall
be assumed by the applicable Debtor effective as of the Effective Date, pursuant to sections 365 and 1123
of the Bankruptcy Code or otherwise. Each Indemnification Obligation shall remain in full force and effect,
shall not be modified, reduced, discharged, impaired, or otherwise affected in any way, and shall survive
Unimpaired and unaffected, irrespective of when such obligation arose.

         8.5       Insurance Policies.

                 (a)      Notwithstanding any other provision in the Plan, all insurance policies to which
any Debtor is a party as of the Effective Date (including any “tail policy”) shall be deemed to be and treated
as executory contracts and shall be assumed by the applicable Reorganized Debtors and shall continue as
obligations of the Debtors or Reorganized Debtors in accordance with their respective terms. All other
insurance policies shall vest in the Reorganized Debtors, as applicable, without the necessity for further
approvals or orders. Nothing in the Plan shall alter, modify, amend, affect, impair, or prejudice the legal,
equitable, or contractual rights, obligations, and defenses of the Debtors, the Reorganized Debtors, Zurich,
or any other individual or entity, as applicable, under (or affect the coverage under) the Debtors’ insurance
policies.

               (b)      The injunctions set forth in Article 10.5 of the Plan, if and to the extent applicable,
shall be deemed lifted without further order of this Bankruptcy Court, solely to permit: (i) holders of valid

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Workers’ Compensation Claims or direct action claims against Zurich under applicable non-bankruptcy
law to proceed with their claims; (ii) Zurich to administer, handle, defend, settle, and/or pay, in the ordinary
course of business and without further order of this Bankruptcy Court but subject to the terms of the Zurich
Insurance Contracts, (A) Workers’ Compensation Claims, (B) claims where a claimant asserts a direct claim
against Zurich under applicable non-bankruptcy law, or an order has been entered by this Bankruptcy Court
granting a claimant relief from the automatic stay or the injunctions set forth in Article 10.5 of the Plan to
proceed with its claim, and (C) all costs in relation to each of the foregoing; and (iii) Zurich to take, in their
sole discretion but subject to the terms of the Zurich Insurance Contracts, other actions relating to the Zurich
Insurance Contracts (including effectuating a setoff).

         8.6       Intellectual Property Licenses and Agreements.

                  Notwithstanding any other provision in the Plan, all intellectual property contracts,
licenses, royalties, or other similar agreements to which the Debtors have any rights or obligations in effect
as of the date of the Confirmation Order shall be deemed and treated as executory contracts pursuant to the
Plan and shall be assumed by the respective Debtors and shall continue in full force and effect unless any
such intellectual property contract, license, royalty, or other similar agreement otherwise is specifically
rejected pursuant to a separate order of the Bankruptcy Court or is the subject of a separate rejection motion
filed by the Debtors. Unless otherwise noted hereunder, as applicable, all other intellectual property
contracts, licenses, royalties, or other similar agreements shall vest in the Reorganized Debtors and the
Reorganized Debtors may take all actions as may be necessary or appropriate to ensure such vesting as
contemplated herein.

         8.7       Assignment.

                 To the extent provided under the Bankruptcy Code or other applicable law, any executory
contract or unexpired lease transferred and assigned hereunder shall remain in full force and effect for the
benefit of the transferee or assignee in accordance with its terms, notwithstanding any provision in such
executory contract or unexpired lease (including those of the type set forth in section 365(b)(2) of the
Bankruptcy Code) that prohibits, restricts, or conditions such transfer or assignment. To the extent provided
under the Bankruptcy Code or other applicable law, any provision that prohibits, restricts, or conditions the
assignment or transfer of any such executory contract or unexpired lease or that terminates or modifies such
executory contract or unexpired lease or allows the counterparty to such executory contract or unexpired
lease to terminate, modify, recapture, impose any penalty, condition renewal or extension, or modify any
term or condition upon any such transfer and assignment, constitutes an unenforceable anti-assignment
provision and is void and of no force or effect.

         8.8       Reservation of Rights.

                (a)      The Debtors may amend the Assumption Schedule, with the consent of the
Required Consenting Lenders, until the Effective Date in order to add, delete, or reclassify any executory
contract or unexpired lease. The Debtors shall provide notice of such amendment to any affected
counterparty as soon as reasonably practicable.

                 (b)      Neither the exclusion nor the inclusion by the Debtors of any contract or lease on
any exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything contained in the
Plan, shall constitute an admission by the Debtors that any such contract or lease is or is not an executory
contract or unexpired lease or that the Debtors, the Reorganized Debtors or Reorganized Non-Acquired
Debtors have any liability thereunder.



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                (c)      Except as explicitly provided in the Plan, nothing herein shall waive, excuse, limit,
diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the Debtors,
the Reorganized Debtors or Reorganized Non-Acquired Debtors under any executory or non-executory
contract or unexpired or expired lease.

                  (d)     Nothing in the Plan shall increase, augment, or add to any of the duties, obligations,
responsibilities, or liabilities of the Debtors, the Reorganized Debtors or Reorganized Non-Acquired
Debtors, as applicable, under any executory or non-executory contract or unexpired or expired lease.

         8.9       Modifications, Amendments, Supplements, Restatements, or Other Agreements.

                   Unless otherwise provided in the Plan, each executory contract or unexpired lease that is
assumed shall include all modifications, amendments, supplements, restatements, or other agreements that
in any manner affect such executory contract or unexpired lease, and executory contracts and unexpired
leases related thereto, if any, including easements, licenses, permits, rights, privileges, immunities, options,
rights of first refusal, and any other interests, unless any of the foregoing agreements has been previously
rejected or repudiated or is rejected or repudiated under the Plan.

ARTICLE IX.                CONDITIONS PRECEDENT TO CONFIRMATION OF PLAN AND
EFFECTIVE DATE.

         9.1       Conditions Precedent to Confirmation of Plan.

                   The following are conditions precedent to confirmation of the Plan:

                   (a)     the Disclosure Statement Order shall have been entered;

                 (b)     the Plan Supplement and all of the schedules, documents, and exhibits contained
therein shall have been filed; and

                   (c)     the Acceptable Plan Agreement shall not have been terminated.

         9.2       Conditions Precedent to Effective Date.

               The following are conditions precedent to the Effective Date of the Plan and the obligations
of the DIP Lenders to consummate the Acquisition Transaction:

                   (a)     the Acceptable Plan Agreement shall not have been terminated;

                  (b)     there shall not have been instituted or threatened or be pending any action,
proceeding, application, claim, counterclaim, or investigation (whether formal or informal) (or there shall
not have been any material adverse development to any action, application, claim, counterclaim, or
proceeding currently instituted, threatened or pending) before or by any court, governmental, regulatory, or
administrative agency or instrumentality, domestic or foreign, or by any other Person, domestic or foreign,
in connection with the Restructuring Transactions that, as determined by the Required Consenting Lenders
in their sole and absolute discretion, would prohibit, prevent, or restrict consummation of the Restructuring
Transactions;

                  (c)    each document or agreement constituting the applicable Definitive Documents
shall (i) be in form and substance consistent with the Acceptable Plan Agreement and the consent rights
thereunder, (ii) have been duly executed, delivered, acknowledged, filed, and/or effectuated, as applicable,

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and (iii) be in full force and effect, and any conditions precedent related thereto or contained therein shall
have been satisfied prior to or contemporaneously with the occurrence of the Effective Date or otherwise
waived;

                (d)     the Debtors shall have obtained all authorizations, consents, regulatory approvals,
rulings, or documents that are necessary to implement and effectuate the Plan, and all applicable regulatory
or government-imposed waiting periods shall have expired or been terminated;

                 (e)     the New Organizational Documents shall (i) be in form and substance acceptable
to the Debtors and the Required Consenting Lenders; (ii) have been executed, delivered, acknowledged,
filed, and/or effectuated, as applicable; and (iii) be in full force and effect, and any conditions precedent
related thereto or contained therein shall have been satisfied prior to or contemporaneously with the
occurrence of the Effective Date or otherwise waived;

                   (f)     all professional fees and expenses of retained professionals required to be approved
by the Bankruptcy Court shall have been paid in full or amounts sufficient to pay such fees and expenses
in full after the Effective Date shall have been placed in the professional fee escrow account;

                 (g)     the conclusion of tax diligence satisfactory to the Required Consenting Lenders in
their sole and absolute discretion;

                   (h)   the Confirmation Order shall constitute a Final Order;

                   (i)   the Disclosure Statement Order shall constitute a Final Order;

              (j)      no event of default or default shall have occurred and be continuing under the DIP
Credit Agreement or the DIP Order;

                 (k)     since March 16, 2023, there has been no event or circumstance that, individually
or in the aggregate with other events or circumstances, has had or would reasonably be expected to have a
Material Adverse Effect (as defined in the DIP Credit Agreement);

                   (l)   the Debtors shall have finalized the contracts with the Specified Customers;

               (m)     the Debtors shall have obtained Final Relief in form and substance acceptable to
the Required Consenting Lenders;

                 (n)      the Required Consenting Lenders shall have determined in their sole and absolute
discretion that there are no material pending defaults or termination rights upon the Effective Date under
the customer contracts of the Reorganized Debtors or the Non-Debtor Subsidiaries;

             (o)     the New Money Exit Debt Syndication shall have been completed as set forth in
the New Money Exit Debt Syndication Documents;

                (p)      all conditions precedent to the issuance or incurrence of the First Lien Exit Facility
shall have been satisfied or duly waived, and the First Lien Exit Facility Documents shall be in form and
substance acceptable to the Required Consenting Lenders in their sole and absolute discretion;

                 (q)   the First Lien Exit Facility shall have been funded in accordance with the First
Lien Exit Facility Documents;



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                (r)     the Restructuring Professional Fees shall have been paid in full in Cash pursuant
to the requirements under the DIP Order or as otherwise provided for in the Plan;

               (s)    the Debtors shall have satisfied all milestones under the DIP Credit Agreement and
Acceptable Plan Agreement;

                (t)     to the extent not otherwise addressed herein, all actions, documents, and
agreements necessary to implement and consummate the Restructuring Transactions shall have been
effected and executed, and shall be in form and substance consistent with the Acceptable Plan Agreement
and acceptable to the Debtors and the Required Consenting Lenders;

                (u)      the Restructuring Transactions and the Plan shall satisfy the tax related
requirements set forth herein, in the sole and absolute discretion of the Required Consenting Lenders;

                (v)      the Required Consenting Lenders shall have approved the Business Plan in their
sole and absolute discretion; and

                (w)    any D public rating for the Debtors or any of their applicable debts or obligations
shall have been withdrawn or removed.

         9.3       Waiver of Conditions Precedent.

                 (a)      Except as otherwise provided herein, all actions required to be taken on the
Effective Date shall take place and shall be deemed to have occurred simultaneously and no such action
shall be deemed to have occurred prior to the taking of any other such action. Each of the conditions
precedent in Section 9.1 and Section 9.2 may not be waived without the express prior written consent (which
may be via email of counsel) of the Debtors and the Required Consenting Lenders, which waiver shall be
effective without notice, leave, or order of the Bankruptcy Court or any formal action other than proceedings
to confirm or consummate the Plan; provided, that, the condition precedent set forth in section 9.2(r) may
not be waived without the consent of the affected professional or advisor to whom the applicable
Restructuring Professional Fees are owed. If the Plan is confirmed for fewer than all of the Debtors as
provided for in Section 5.21 of the Plan, only the conditions applicable to the Debtor or Debtors for which
the Plan is confirmed must be satisfied or waived for the Effective Date to occur as to such Debtors.

                (b)    The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e) shall be
deemed waived by and upon the entry of the Confirmation Order, and the Confirmation Order shall take
effect immediately upon its entry.

         9.4       Effect of Non-Occurrence of Conditions to the Effective Date.

                 If the Effective Date does not occur, the Plan shall be null and void in all respects and
nothing contained in the Plan or the Disclosure Statement shall (i) constitute a waiver or release of any
Claims by or Claims against or Interests in the Debtors; (ii) prejudice in any manner the rights of the Debtor,
any holders of a Claim or Interest or any other Entity; or (iii) constitute an admission, acknowledgment,
offer, or undertaking by the Debtors, any holders, or any other Entity in any respect.




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ARTICLE X. EFFECT OF CONFIRMATION OF PLAN.

         10.1      Vesting of Assets.

                 On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all
property of the Debtors’ Estates shall vest in the Reorganized Debtors free and clear of all Claims, Liens,
encumbrances, charges, and other interests, except as provided pursuant to the Plan or the Confirmation
Order. On and after the Effective Date, the Reorganized Debtors may take any action, including the
operation of their businesses, the use, acquisition, sale, lease, and disposition of property, and the entry into
transactions, agreements, understandings, or arrangements, whether in or other than in the ordinary course
of business, and execute, deliver, implement, and fully perform any and all obligations, instruments,
documents, and papers or otherwise in connection with any of the foregoing, free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules and in all respects as if there were no pending cases under any
chapter or provision of the Bankruptcy Code, except as expressly provided herein. Without limiting the
foregoing, the Reorganized Debtors may pay the charges that they incur on or after the Effective Date for
professional fees, disbursements, expenses, or related support services without application to the
Bankruptcy Court.

         10.2      Binding Effect.

                  As of the Effective Date, the Plan shall bind all holders of Claims against and Interests in
the Debtors and their respective successors and assigns, notwithstanding whether any such holders (a) were
Impaired or Unimpaired under the Plan; (b) were deemed to accept or reject the Plan; (c) failed to vote to
accept or reject the Plan; (d) voted to reject the Plan; or (e) received any distribution under the Plan.

         10.3      Discharge of Claims and Termination of Interests.

                   Upon the Effective Date and subject to the Transaction Steps, and in consideration of the
distributions to be made hereunder, except as otherwise expressly provided herein, any and all Claims,
Interests, rights, and liabilities against the Debtors that arose prior to the Effective Date shall be discharged
to the fullest extent permitted by section 1141 of the Bankruptcy Code. Upon the Effective Date, the holders
of any such Claims, Interests, rights, and liabilities shall be forever precluded and enjoined, pursuant to
section 524 of the Bankruptcy Code, from prosecuting or asserting any such discharged Claim, Interest,
right, or liability against the Debtors, the Reorganized Debtors or the Reorganized Non-Acquired Debtors
or any of their Assets or property, whether or not such holder has filed a Proof of Claim and whether or not
the facts or legal bases therefor were known or existed prior to the Effective Date.

         10.4      Term of Injunctions or Stays.

                 Unless otherwise provided herein, the Confirmation Order, or in a Final Order of the
Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Cases under
sections 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall
remain in full force and effect until the later of the Effective Date and the date indicated in the order
providing for such injunction or stay.

         10.5      Injunction.

                 (a)       Upon entry of the Confirmation Order, all holders of Claims and Interests and other
parties in interest, along with their respective present or former employees, agents, officers, directors,
principals, and affiliates, shall be enjoined from taking any actions to interfere with the implementation or


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consummation of the Plan in relation to any Claim or Interest extinguished, discharged, released or treated
pursuant to the Plan.

                   (b)      Except as expressly provided in the Plan, the Confirmation Order, or a separate
order of the Bankruptcy Court or as agreed to by the Debtors and a holder of a Claim against or Interest in
the Debtors, all Entities who have held, hold, or may hold Claims against or Interests in any or all of the
Debtors (whether proof of such Claims or Interests has been filed or not and whether or not such Entities
vote in favor of, against or abstain from voting on the Plan or are presumed to have accepted or deemed to
have rejected the Plan) and other parties in interest, along with their respective present or former employees,
agents, officers, directors, principals, and affiliates are permanently enjoined, on and after the Effective
Date, solely with respect to any Claims, Interests, and Causes of Action that will be or are extinguished,
discharged, released, or treated pursuant to the Plan from (i) commencing, conducting, or continuing in any
manner, directly or indirectly, any suit, action, or other proceeding of any kind (including any proceeding
in a judicial, arbitral, administrative or other forum) against or affecting the Released Parties or the property
of any of the Released Parties; (ii) enforcing, levying, attaching (including any prejudgment attachment),
collecting, or otherwise recovering by any manner or means, whether directly or indirectly, any judgment,
award, decree, or order against the Released Parties or the property of any of the Released Parties;
(iii) creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any encumbrance of
any kind against the Released Parties or the property of any of the Released Parties; (iv) asserting any right
of setoff, directly or indirectly, against any obligation due the Released Parties or the property of any of the
Released Parties, except as contemplated or allowed by the Plan, or to the extent asserted with respect to a
timely Proof of Claim or an objection to the confirmation of the Plan; and (v) acting or proceeding in any
manner, in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

               (c)     The injunctions in this Section 10.5 shall extend to any successors of the Debtors,
the Reorganized Debtors or Reorganized Non-Acquired Debtors and their respective property and interests
in property.

         10.6      Releases.

                   (a)    Releases by the Debtors.

                As of the Effective Date, except for the right to enforce the Plan or any right or
obligation arising under the Definitive Documents that remains in effect after the Effective Date, for
good and valuable consideration, on and after the Effective Date, the Released Parties shall be
deemed released and discharged by the Debtors, the Reorganized Debtors, the Reorganized Non-
Acquired Debtors. and the Estates, and any Person seeking to exercise the rights of the Estates, and
any successors to the Debtors or any Estate representative appointed or selected pursuant to section
1123(b)(3) of the Bankruptcy Code, from any and all claims, obligations, rights, suits, judgments,
damages, demands, debts, rights, Causes of Action, remedies, losses, and liabilities whatsoever,
whether known or unknown, foreseen or unforeseen, liquidated or unliquidated, matured or
unmatured, contingent or fixed, existing or hereinafter arising, in law, equity or otherwise, including
any derivative claims asserted or assertable on behalf of the Debtors, the Reorganized Debtors, the
Reorganized Non-Acquired Debtors or the Estates, that the Debtors, the Reorganized Debtors, the
Reorganized Non-Acquired Debtors or the Estates would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the holder of any Claim or Interest or
other Entity, based on or relating to, or in any manner arising from, in whole or in part, the Debtors,
the Estates, the conduct of the Debtors’ businesses, the Chapter 11 Cases, the purchase, sale or
rescission of the purchase or sale of any Security of the Debtors, the Reorganized Debtors or the
Reorganized Non-Acquired Debtors, the subject matter of, or the transactions or events giving rise
to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements between

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the Debtors and any Released Party, the Restructuring Transactions, or any of the transactions that
are the subject of the Restructuring Transactions related to any Claim or Interest before or during
the Chapter 11 Cases, the Disclosure Statement, the Plan, and the Definitive Documents, or any
related agreements, instruments, or other documents, and the negotiation, formulation, or
preparation thereof, the solicitation of votes with respect to the Plan, or any other act or omission, in
all cases based upon any act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date; provided, that, the foregoing shall not release any Cause of
Action arising from an act or omission determined by Final Order to constitute gross negligence,
willful misconduct, or intentional fraud.

                   (b)    Releases by Certain Holders of Claims and Interests.

         As of the Effective Date, except for the right to enforce the Plan or any right or obligation
arising under the Definitive Documents that remains in effect after the Effective Date, for good and
valuable consideration, on and after the Effective Date, except as specifically set forth elsewhere in
the Plan, the Releasing Parties conclusively, absolutely, unconditionally, irrevocably, and forever
discharge and release (and each entity so discharged and released shall be deemed discharged and
released by the Releasing Parties) the Released Parties and their respective property from any and
all claims, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever
(including contract claims, claims under ERISA and all other statutory claims, claims for
contributions, withdrawal liability, reallocation liability, redetermination liability, interest on any
amounts, liquidated damages, claims for attorneys’ fees or any costs or expenses whatsoever),
whether known or unknown, foreseen or unforeseen, liquidated or unliquidated, matured or
unmatured, contingent or fixed, existing or hereinafter arising, in law, equity or otherwise, including
any derivative claims asserted or assertable on behalf of the Debtors, the Reorganized Debtors, the
Reorganized Non-Acquired Debtors or the Estates, that such Entity would have been legally entitled
to assert in its own right (whether individually or collectively) based on or relating to, or in any
manner arising from, in whole or in part, the Debtors, the Estates, the Restructuring Transactions,
the Chapter 11 Cases, the purchase, sale or rescission of the purchase or sale of any Security of the
Debtors, the Reorganized Debtors or the Reorganized Non-Acquired Debtors the subject matter of,
or the transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
business or contractual arrangements between any Debtor and any Released Party (other than
assumed contracts or leases and, solely to the extent provided in Section 5.11(b)(iii), the Prepetition
Credit Agreement ), any of the transactions that are the subject of the Restructuring Transactions
related to any Claims and Interests before or during the Chapter 11 Cases, the negotiation,
formulation, preparation or consummation of the Plan (including the Plan Supplement), the
Definitive Documents, or any related agreements, instruments or other documents, or the solicitation
of votes with respect to the Plan, in all cases based upon any other act or omission, transaction,
agreement, event or other occurrence taking place on or before the Effective Date; provided, that,
the foregoing shall not release any Cause of Action arising from an act or omission determined by
Final Order to constitute gross negligence, willful misconduct, or intentional fraud.

         10.7      Exculpation.

                Notwithstanding anything herein to the contrary, and to the maximum extent
permitted by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is
hereby released and exculpated from, any claim, obligation, suit, judgment, damage, demand, debt,
right, Cause of Action, remedy, loss, and liability for any claim arising between the Petition Date and
the Effective Date in connection with or arising out of the administration of the Chapter 11 Cases,
the negotiation, formulation, preparation, dissemination, implementation, administration,
confirmation, consummation, and pursuit of the Disclosure Statement, the Restructuring

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Transactions, the Plan, or the solicitation of votes for, or confirmation of, the Plan, the funding or
consummation of the Plan (including the Plan Supplement), the DIP Documents, Definitive
Documents, or any related agreements, instruments, or other documents, the solicitation of votes on
the Plan; the offer, issuance, and distribution of any Securities issued or to be issued pursuant to the
Plan or any related agreement, whether or not such distribution occurs following the Effective Date,
the occurrence of the Effective Date, negotiations regarding or concerning any of the foregoing, or
the administration of the Plan or property to be distributed under the Plan, except for acts or
omissions determined by Final Order to constitute gross negligence, willful misconduct, or intentional
fraud, but in all respects, such Exculpated Parties shall be entitled to reasonably rely upon the advice
of counsel with respect to their duties and responsibilities. This exculpation shall be in addition to,
and not in limitation of, all other releases, indemnities, exculpations and any other applicable law or
rules protecting such Exculpated Parties from liability.

         10.8      Subordinated Claims.

                 The allowance, classification, and treatment of all Allowed Claims and Interests and the
respective distributions and treatments under the Plan take into account and conform to the relative priority
and rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the
Debtors reserve the right to re-classify any Allowed Claim or Interest in accordance with any contractual,
legal, or equitable subordination relating thereto.

         10.9      Retention of Causes of Action/Reservation of Rights.

                 Except as otherwise provided in Sections 5.12(b), 10.5, 10.6, and 10.7 of the Plan, nothing
contained in the Plan or the Confirmation Order shall be deemed to be a waiver or relinquishment of any
rights, Claims, Causes of Action, rights of setoff or recoupment, or other legal or equitable defenses that
the Debtors had immediately prior to the Effective Date on behalf of the Estates or of themselves in
accordance with any provision of the Bankruptcy Code or any applicable nonbankruptcy law, including any
affirmative Causes of Action against parties with a relationship with the Debtors. The Reorganized Debtors
and the Reorganized Non-Acquired Debtors shall have, retain, reserve, and be entitled to assert all such
Claims, Causes of Action, rights of setoff or recoupment, and other legal or equitable defenses
notwithstanding the occurrence of the Effective Date, and all of the Debtors’ legal and equitable rights in
respect of any Unimpaired Claim may be asserted after the Confirmation Date and Effective Date to the
same extent as if the Chapter 11 Cases had not been commenced.

         10.10 Solicitation of Plan.

                  As of and subject to the occurrence of the Confirmation Date: (a) the Debtors shall be
deemed to have solicited acceptances of the Plan in good faith and in compliance with the applicable
provisions of the Bankruptcy Code, including sections 1125(a) and (e) of the Bankruptcy Code, and any
applicable non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in connection with
such solicitation and (b) the Debtors and each of their respective directors, officers, employees, affiliates,
agents, financial advisors, investment bankers, professionals, accountants, and attorneys shall be deemed
to have participated in good faith and in compliance with the applicable provisions of the Bankruptcy Code
in the offer and issuance of any securities under the Plan, and therefore are not, and on account of such
offer, issuance, and solicitation shall not be, liable at any time for any violation of any applicable law, rule,
or regulation governing the solicitation of acceptances or rejections of the Plan or the offer and issuance of
any securities under the Plan.


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         10.11 Corporate and Limited Liability Company Action.

                  Upon the Effective Date, all actions of the Debtors, Reorganized Debtors, or the
Reorganized Non-Acquired Debtors, as applicable, contemplated by the Plan shall be deemed authorized
and approved in all respects, including (a) those set forth in Section 5.5 of the Plan; (b) the selection of the
managers, directors, and officers for the Reorganized Debtors; (c) the distribution, transfer, or issuance of
the New Interests; (d) the entry into the First Lien Exit Facility Credit Agreement; and (e) all other actions
contemplated by the Plan (whether to occur before, on, or after the Effective Date), in each case, in
accordance with and subject to the terms hereof. All matters provided for in the Plan involving the corporate
or limited liability company structure of the Debtors or the Reorganized Debtors, and any corporate or
limited liability company action required by the Debtors or the Reorganized Debtors in connection with the
Plan shall be in effect, without any requirement of further action by the security holders, directors,
managers, or officers of the Debtors or the Reorganized Debtors. On or (as applicable) before the Effective
Date, the appropriate officers of the Debtors or the Reorganized Debtors, as applicable, shall be authorized
and directed to issue, execute, and deliver the agreements, documents, securities, and instruments,
certificates of merger, certificates of conversion, certificates of incorporation, or comparable documents, or
franchise tax reports contemplated by the Plan (or necessary or desirable to effect the transactions
contemplated by the Plan) in the name of and on behalf of the Reorganized Debtors, including, (a) the New
Organizational Documents; (b) the First Lien Exit Facility Credit Agreement; and (c) any and all other
agreements, documents, securities, and instruments relating to the foregoing. The authorizations and
approvals contemplated by this Section 10.11 shall be effective notwithstanding any requirements under
non-bankruptcy law.

ARTICLE XI.                RETENTION OF JURISDICTION.

         11.1      Retention of Jurisdiction.

                 On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Cases for, among other things, the following
purposes:

                 (a)   to hear and determine motions and/or applications for the assumption, assumption
and assignment, or rejection of executory contracts or unexpired leases, including disputes over Cure
Amounts, and the allowance, classification, priority, compromise, estimation, or payment of Claims
resulting therefrom;

               (b)       to hear and determine disputes in connection with the rights of any Debtors or Non-
Debtor Subsidiaries arising out of, or resulting from, these Chapter 11 Cases, including with respect to any
impact of these Chapter 11 Cases on the property or contract rights of the Debtors or Non-Debtor
Subsidiaries;

                 (c)     to determine any motion, adversary proceeding, application, contested matter, and
other litigated matter pending on or commenced after the Confirmation Date;

                  (d)      to ensure that distributions to holders of Allowed Claims are accomplished as
provided for in the Plan and Confirmation Order and to adjudicate any and all disputes arising from or
relating to distributions under the Plan, including, cases, controversies, suits, disputes, or Causes of Action
with respect to the repayment or return of distributions and the recovery of additional amounts owed by the
holder of a Claim or Interest for amounts not timely paid;



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               (e)    to consider the allowance, classification, priority, compromise, estimation, or
payment of any Claim;

               (f)      to enter, implement or enforce such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

               (g)      to issue injunctions, enter and implement other orders, and take such other actions
as may be necessary or appropriate to restrain interference by any Entity with the consummation,
implementation, or enforcement of the Plan, the Confirmation Order, or any other order of the Bankruptcy
Court;

                 (h)      to hear and determine any application to modify the Plan in accordance with
section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any inconsistency in
the Plan, or any order of the Bankruptcy Court, including the Confirmation Order, in such a manner as may
be necessary to carry out the purposes and effects thereof;

                   (i)   to hear and determine all Fee Claims;

              (j)        to adjudicate, decide, or resolve any and all matters related to section 1141 of the
Bankruptcy Code;

                 (k)     to hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan, the Plan Supplement, or the Confirmation Order or any
agreement, instrument, or other document governing or relating to any of the foregoing; provided, that, any
dispute arising under or in connection with the First Lien Exit Facility shall be dealt with in accordance
with the provisions of the applicable document;

               (l)     to take any action and issue such orders as may be necessary to construe, interpret,
enforce, implement, execute, and consummate the Plan;

               (m)      to determine such other matters and for such other purposes as may be provided in
the Confirmation Order;

                (n)     to hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for expedited
determinations under section 505(b) of the Bankruptcy Code);

                 (o)      to hear, adjudicate, decide, or resolve any and all matters related to Article X of
the Plan, including the releases, discharge, exculpations, and injunctions issued thereunder;

                   (p)   to resolve disputes concerning Disputed Claims or the administration thereof;

               (q)    to hear and determine any other matters related hereto and not inconsistent with
the Bankruptcy Code and title 28 of the United States Code;

                   (r)   to enter one or more final decrees closing the Chapter 11 Cases;

                   (s)   to adjudicate any and all disputes arising from or relating to distributions under the
Plan;

                   (t)   to resolve disputes as to the ownership of any Claim or Interest;


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                   (u)    to recover all Assets of the Debtors and property of the Debtors’ Estates, wherever
located;

                (v)     to resolve any disputes concerning whether an Entity had sufficient notice of the
Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in connection with the Chapter 11
Cases, any bar date established in the Chapter 11 Cases, or any deadline for responding or objecting to a
Cure Amount, in each case, for the purpose of determining whether a Claim or Interest is discharged
hereunder or for any other purpose;

                (w)      to hear and determine any rights, Claims, or Causes of Action held by or accruing
to the Debtors pursuant to the Bankruptcy Code or pursuant to any federal statute or legal theory; and

                (x)     to hear and resolve any dispute over the application to any Claim of any limit on
the allowance of such Claim set forth in sections 502 or 503 of the Bankruptcy Code.

           11.2    Courts of Competent Jurisdiction.

                 If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or failure of
jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by
any other court having competent jurisdiction with respect to such matter.

ARTICLE XII.              MISCELLANEOUS PROVISIONS.

           12.1    Payment of Statutory Fees.

                 On the Effective Date and thereafter as may be required, the Debtors, the Reorganized
Debtors, the Reorganized Non-Acquired Debtors or the Reorganized Debtor Plan Administrator, as
applicable, shall pay all Statutory Fees that are due and payable. After the Effective Date, the Reorganized
Debtors, the Reorganized Non-Acquired Debtors or the Reorganized Debtor Plan Administrator, as
applicable, shall pay any and all Statutory Fees when due and payable. The Debtors shall file all monthly
operating reports due prior to the Effective Date when they become due, using UST Form 11-MOR. After
the Effective Date, the Reorganized Debtors, the Reorganized Non-Acquired Debtors or the Reorganized
Debtor Plan Administrator, as applicable, shall file with the Bankruptcy Court separate UST Form 11-PCR
reports when they become due. Notwithstanding anything in the Plan to the contrary, the Debtors, the
Reorganized Debtors, the Reorganized Non-Acquired Debtors or the Reorganized Debtor Plan
Administrator, as applicable, shall remain obligated to pay Statutory Fees to the Office of the U.S. Trustee
and file such reports until the earliest of that particular Debtor’s case being closed, dismissed, or converted
to a case under chapter 7 of the Bankruptcy Code. The obligations under this Section 12.1 shall remain for
each Debtor until such time as a final decree is entered closing the Chapter 11 Case for such Debtor, a Final
Order converting such Debtor’s Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code is
entered, or a Final Order dismissing such Debtor’s Chapter 11 Case is entered.

           12.2    Substantial Consummation of the Plan.

                On the Effective Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.




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         12.3      Dissolution of Creditors’ Committee.

                  On the Effective Date, the Creditors’ Committee shall dissolve, and the members thereof
shall be released and discharged from all rights and duties arising from, or related to, the Chapter 11 Cases;
provided, that, following the Effective Date, the Creditors’ Committee shall continue in existence and have
standing and a right to be heard for the following limited purposes: (a) Claims and/or applications, and any
relief related thereto, for compensation by professional persons retained in the Chapter 11 Cases pursuant
to sections 327, 328, 329, 330, 331, 503(b), or 1103 of the Bankruptcy Code and requests for allowance of
Administrative Expense Claims for substantial contribution pursuant to section 503(b)(3)(D) of the
Bankruptcy Code; and (b) any appeals of the Confirmation Order or other appeals to which the Creditors’
Committee is a party.

         12.4      Plan Supplement.

                The Plan Supplement shall be filed with the Bankruptcy Court not later than seven (7)
calendar days prior to the earlier of the Voting Deadline and the deadline to object to confirmation of the
Plan. Upon its filing with the Bankruptcy Court, the documents included in the Plan Supplement shall be
posted at the website of the Debtors’ notice, claims, and solicitation agent.

         12.5      Request for Expedited Determination of Taxes.

                  The Debtors and Reorganized Debtors shall have the right to request an expedited
determination under section 505(b) of the Bankruptcy Code with respect to tax returns of the Debtors filed,
or to be filed, for any and all taxable periods ending after the Petition Date through the Effective Date.

         12.6      Exemption from Certain Transfer Taxes.

                  Pursuant to and to the fullest extent permitted by section 1146 of the Bankruptcy Code,
(i) the issuance, transfer or exchange of any securities, instruments or documents; (ii) the creation of any
Lien, mortgage, deed of trust or other security interest; (iii) all sale transactions consummated by the
Debtors and approved by the Bankruptcy Court on and after the Confirmation Date through and including
the Effective Date, including any transfers effectuated (directly or indirectly) under the Plan pursuant to a
Restructuring Transaction; (iv) the making or assignment of any lease or sublease or the making or delivery
of any deed or other instrument of transfer under, pursuant to, in furtherance of, or in connection with the
Plan, including any deeds, bills of sale, or assignments executed in connection with any of the transactions
contemplated under the Plan or the revesting, transfer, or sale of any real or personal property of the Debtors
pursuant to, in implementation of or as contemplated in the Plan (whether to one or more of the Reorganized
Debtors or otherwise); and (v) the issuance, renewal, modification, or securing of indebtedness by such
means, and the making, delivery or recording of any deed or other instrument of transfer under, in
furtherance of, or in connection with, the Plan, including the Confirmation Order, shall not be subject to
any document recording tax, stamp tax, conveyance fee, or other similar tax, mortgage tax, real estate
transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing,
or recording fee, sales tax, use tax or other similar tax, or governmental assessment. Consistent with the
foregoing, each recorder of deeds or similar official for any county, city, or Governmental Unit in which
any instrument hereunder is to be recorded shall, pursuant to the Confirmation Order, be ordered and
directed to accept such instrument without requiring the payment of any filing fees, documentary stamp
tax, deed stamps, stamp tax, transfer tax, intangible tax, or similar tax.




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         12.7      Amendments.

                 (a)    The Debtors reserve the right, in accordance with the Bankruptcy Code and the
Bankruptcy Rules, to amend or modify the Plan prior to the entry of the Confirmation Order, including
amendments or modifications to satisfy section 1129(b) of the Bankruptcy Code. After entry of the
Confirmation Order, the Debtors may, upon order of the Bankruptcy Court, amend, modify, or supplement
the Plan in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise permitted by
law, in each case without additional disclosure pursuant to section 1125 of the Bankruptcy Code.

                 (b)    Before the Effective Date, the Debtors may make appropriate technical
adjustments and modifications to the Plan and the documents contained in the Plan Supplement to cure any
non-substantive ambiguity, defect (including any technical defect), or inconsistency without further order
or approval of the Bankruptcy Court.

         12.8      Effectuating Documents and Further Transactions.

                  Each of the officers of the Reorganized Debtors is authorized, in accordance with his or
her authority under the resolutions of the applicable board of directors or managers (on terms materially
consistent with the Plan), to execute, deliver, file, or record such contracts, instruments, releases, indentures,
and other agreements or documents and take such actions as may be necessary or appropriate to effectuate
and further evidence the terms and conditions of the Plan, which shall be in form and substance reasonably
satisfactory to the Debtors.

         12.9      Revocation or Withdrawal of the Plan.

                 The Debtors may revoke or withdraw the Plan prior to the Effective Date as to any or all
of the Debtors. If, with respect to a Debtor, the Plan has been revoked or withdrawn prior to the Effective
Date, or if confirmation or the occurrence of the Effective Date as to such Debtor does not occur on the
Effective Date, then, with respect to such Debtor: (a) the Plan shall be null and void in all respects; (b) any
settlement or compromise embodied in the Plan (including the fixing of or limiting to an amount of any
Claim or Interest or Class of Claims or Interests), assumption of executory contracts or unexpired leases
affected by the Plan, and any document or agreement executed pursuant to the Plan shall be deemed null
and void; and (c) nothing contained in the Plan shall (i) constitute a waiver or release of any Claim by or
against, or any Interest in, such Debtor or any other Entity; (ii) prejudice in any manner the rights of such
Debtor or any other Entity; or (iii) constitute an admission of any sort by any Debtor, any Prepetition First
Lien Lenders, or any other Entity.

         12.10 Severability of Plan Provisions.

                  If, before the entry of the Confirmation Order, any term or provision of the Plan is held by
the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request of the
Debtors, shall have the power to alter and interpret such term or provision to make it valid or enforceable
to the maximum extent practicable, consistent with the original purpose of the term or provision held to be
invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Plan shall remain in full force and effect and shall in no way be affected, impaired or invalidated by
such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination
and shall provide that each term and provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing, is (a) valid and enforceable pursuant to its terms; (b) integral to the Plan and
may not be deleted or modified without the consent of the Debtors or Reorganized Debtors, as applicable;
and (c) nonseverable and mutually dependent.

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         12.11 Governing Law.

                  Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement or a Definitive Document provides otherwise,
the rights, duties, and obligations arising under the Plan shall be governed by, and construed and enforced
in accordance with, the laws of the State of New York, without giving effect to the principles of conflict of
laws thereof.

         12.12 Time.

                 In computing any period of time prescribed or allowed by the Plan, unless otherwise set
forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006 shall apply.

         12.13 Dates of Actions to Implement the Plan.

                  In the event that any payment or act under the Plan is required to be made or performed on
a date that is not a Business Day, then the making of such payment or the performance of such act may be
completed on or as soon as reasonably practicable after the next succeeding Business Day, but shall be
deemed to have been completed as of the required date.

         12.14 Immediate Binding Effect.

                  Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
occurrence of the Effective Date, the terms of the Plan and Plan Supplement shall be immediately effective
and enforceable and deemed binding upon and inure to the benefit of the Debtors, the holders of Claims
and Interests (irrespective of whether such Claims or Interests are deemed to have accepted the Plan), the
Released Parties, the Exculpated Parties and each of their respective successors and assigns, including the
Reorganized Debtors and the Reorganized Non-Acquired Debtors.

                   .

         12.15 Deemed Acts.

                 Subject to and conditioned on the occurrence of the Effective Date, whenever an act or
event is expressed under the Plan to have been deemed done or to have occurred, it shall be deemed to have
been done or to have occurred without any further act by any party, by virtue of the Plan and the
Confirmation Order.

         12.16 Successor and Assigns.

                 The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor, or permitted assign,
if any, of each Entity.

         12.17 Entire Agreement.

                On the Effective Date, the Plan, the Plan Supplement, and the Confirmation Order shall
supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings, and representations on such subjects, all of which have become merged and integrated into
the Plan.


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         12.18 Exhibits to Plan.

               All exhibits, schedules, supplements, and appendices to the Plan (including the Plan
Supplement) are incorporated into and are a part of the Plan as if set forth in full herein.

         12.19 Notices.

                All notices, requests, and demands to or upon the Debtors to be effective shall be in writing
(including by electronic or facsimile transmission) and, unless otherwise expressly provided herein, shall
be deemed to have been duly given or made when actually delivered or, in the case of notice by facsimile
transmission, when received and telephonically confirmed, addressed as follows:

                   (a)   if to the Debtors or the Reorganized Debtors:

                         Phoenix Services International LLC
                         4 Radnor Corporate Center, Suite 520
                         100 Matsonford Road
                         Radnor, Pennsylvania 19087
                         Attn: Mark Porto and Robert Richard
                         Email: Mark.Porto@phoenix-services.com
                                bob.richard@phoenix-services.com

                                 – and –

                         Weil, Gotshal & Manges LLP
                         767 Fifth Avenue
                         New York, NY 10153
                         Attn: Ray C. Schrock, Esq., Jeffrey D. Saferstein, Esq.,
                                 and Garrett A. Fail, Esq.
                         Telephone: (212) 310-8000
                         Facsimile: (212) 310-8007
                         Email: ray.schrock@weil.com
                                 jeffrey.saferstein@weil.com
                                 garrett.fail @weil.com

                                 – and –

                         Richards, Layton & Finger, P.A.
                         One Rodney Square
                         920 North King Street
                         Wilmington, Delaware 19801
                         Attn: Daniel J. DeFranceschi, Esq. and Zachary I. Shapiro, Esq.
                         Telephone: (302) 651-7700
                         Facsimile: (302) 651-7701
                         Email: defranceschi@rlf.com
                                shapiro@rlf.com

                   (b)   if to the DIP Agent or Ad Hoc Group:

                         Gibson, Dunn & Crutcher LLP
                         200 Park Avenue

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                         New York, New York 10166
                         Attn: Scott Greenberg, Esq., Steven A. Domanowski, Esq.,
                                Matthew Williams, Esq., and Jason Goldstein, Esq.
                         Email: sgreenberg@gibsondunn.com
                                sdomanowski@gibsondunn.com
                                mjwilliams@gibsondunn.com
                                jgoldstein@gibsondunn.com

                                 – and –

                         Pachulski Stang Ziehl & Jones LLP
                         919 N. Market Street, 17th Floor, P.O. Box 8705
                         Wilmington, DE 19899
                         Attn: Laura Davis Jones, Esq
                         Email: ljones@pszjlaw.com

                   (c)   if to the Prepetition First Lien Administrative Agent:

                         Davis Polk & Wardwell LLP
                         450 Lexington Avenue
                         New York, NY 10017
                         Attn: Brian M. Resnick and Jonah A. Peppiatt
                         Email: brian.resnick@davispolk.com
                                jonah.peppiatt@davispolk.com

                                 – and –

                         Morris, Nichols, Arsht & Tunnell LLP
                         1201 N. Market Street, 16th Floor
                         P.O. Box 1347
                         Wilmington, DE 19899-1347
                         Attn: Robert J. Dehney and Andrew R. Remming
                         Email: rdehneymorrisnichols.com
                                 aremming@morrisnichols.com

                 After the Effective Date, the Debtors have authority to send a notice to Entities providing
that, to continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed request
to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors and
Reorganized Debtors are authorized to limit the list of Entities receiving documents pursuant to Bankruptcy
Rule 2002 to those Entities who have filed such renewed requests.

Dated: June 20, 2023

                                                  Respectfully submitted,

                                                  Phoenix Services Topco, LLC and each of the other
                                                  Debtors

                                                  By: /s/ Robert Richard
                                                     Name: Robert Richard
                                                     Title: Chief Financial Officer

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